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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

____________________________________
                                 :
TAMMY KITZMILLER; BRYAN and      :
CHRISTY REHM; DEBORAH            :
FENIMORE and JOEL LIEB; STEVEN   :
STOUGH; BETH EVELAND; CYNTHIA :
SNEATH; JULIE SMITH; and ARALENE :
(“BARRIE”) D. and FREDERICK B.   :
CALLAHAN,                        :
                                 :           CIVIL ACTION
                     Plaintiffs, :
                                 :           No. 4:04-cv-2688
     v.                          :
                                 :           (JUDGE JONES)
DOVER AREA SCHOOL DISTRICT and :
DOVER AREA SCHOOL DISTRICT       :           (Filed Electronically)
BOARD OF DIRECTORS,              :
                                 :
                     Defendants. :
                                 :

           BRIEF IN SUPPORT OF PLAINTIFFS’ PROPOSED
          FINDINGS OF FACT AND CONCLUSIONS OF LAW
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                                 INTRODUCTION

      After six weeks in the courtroom, nine expert witnesses, twenty-three fact

witnesses, hundreds of exhibits, and more hours discussing bacterial flagella than any

judge should ever have to endure, at least three things are entirely clear: First,

intelligent design is nothing more than warmed-over creationism, invoking God not

by name but tacitly, with a wink and a nod. Second, the Dover Area School Board set

out to inject that brand of creationism into its ninth-grade-biology curriculum; and

with the help of the Thomas More Law Center and the Discovery Institute, it did just

that. And third, the Board’s actions have, unfortunately but also unsurprisingly,

generated religiously based civil discord.

      The Establishment Clause of the First Amendment to the U.S. Constitution was

designed, intelligently, to prevent just such strife by prohibiting public officials from

furthering their personal religious agendas using the machinery of the state. To that

end, the Clause reserves to parents the right to decide what religious education their

children will receive. Here, however, the Dover Area School Board arrogated to itself

that intensely important, intensely personal decision, sacrificing Dover students’

science education in order to impose the Board’s own particular brand of religion —

without regard for the students’ own beliefs or the faiths of their families. And the

intelligent-design movement self-consciously provided the District with the tools to

accomplish that aim.
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      Plaintiffs seek to vindicate the fundamental principles of the Establishment

Clause for themselves as parents, deprived of the right to determine what religious

education their children will receive; for their children as students, whose science

education the District sacrificed to further a religious objective; for the Dover

community, which defendants plunged into religious and political turmoil; and for

parents across the country, who now wait to see whether their local school boards will

be given license to press intelligent-design creationism on the students in their charge,

immersing their communities in conflict over the intelligent-design movement’s

religious agenda. Plaintiffs have incurred substantial expense presenting their case;

and their experts have donated countless hours bringing their expertise to bear on the

factual and legal issues that this case raises. On the other side of the equation,

defendants have undoubtedly incurred substantial expense tendering their defense and

offering their own expert witnesses. And this Court has committed substantial judicial

resources giving the parties a full and fair hearing. The parties, the Dover community,

and communities across the country, now look to this Court to give guidance as to

whether intelligent-design creationism and so-called evidence against evolution can

be incorporated into public-school science classes. The answer to that question is

straightforward: They cannot.




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                                   ARGUMENT1

      “There is and can be no doubt that the First Amendment does not permit the

State to require that teaching and learning must be tailored to the principles or

prohibitions of any religious sect or dogma.”2 The Establishment Clause mandates

that, “[i]n the relationship between man and religion, the State [must be] firmly

committed to a position of neutrality.”3 And that principle applies with particular

force to public schools and their policymakers: “[O]ne of the few absolutes in

Establishment Clause jurisprudence is the ‘prohibit[ion against] government-financed

or government-sponsored indoctrination into the beliefs of a particular religious

faith.’”4 Simply stated, “Government may not * * * undertake religious instruction.”5


      1
              For simplicity’s sake, plaintiffs will cite to the record using the format
X:Y to denote volume (X) and page number (Y) of the transcript. We will cite to
paragraphs in the proposed findings of fact using the format FF__, and to plaintiffs’
trial exhibits using the format P__.
      2
             Epperson v. Arkansas, 393 U.S. 97, 106 (1968).
      3
              Sch. Dist. v. Schempp, 374 U.S. 203, 226 (1963); accord, e.g., Bd. of
Educ. v. Grumet, 512 U.S. 687, 703 (1994) (“a principle at the heart of the
Establishment Clause [is] that government should not prefer one religion to another,
or religion to irreligion”); Larson v. Valente, 456 U.S. 228, 244 (1982) (“The clearest
command of the Establishment Clause is that one religious denomination cannot be
officially preferred over another.”).
      4
            DeStefano v. Emergency Hous. Group, Inc., 247 F.3d 397, 416 (2d Cir.
2001) (quoting Bowen v. Kendrick, 487 U.S. 589, 611 (1988)) (alteration in original).
      5
             Zorach v. Clauson, 343 U.S. 306, 314 (1952).

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        The Dover Area School District and its Board of Directors have violated that

clear constitutional prohibition.

I.      DEFENDANTS’ POLICY AND CURRICULUM CHANGE
        IMPROPERLY ENDORSE A PARTICULAR RELIGIOUS VIEW.

        Although the parties agree that the Lemon test applies to this case, defendants

object to using the endorsement test, arguing that it applies only to religious-display

cases. Defendants are wrong as a matter of law: In this Circuit, both the endorsement

test and the Lemon test apply. And both point to the same conclusion: Defendants

violated the Establishment Clause.

        A.    The Endorsement Test Applies To Defendants’ Actions Here No
              Less Than To Any Other Governmental Conduct Favoring Religion.

        Notwithstanding defendants’ contention that the endorsement test is (or should

be) limited to the religious-display context,6 both the Supreme Court and the Third

Circuit routinely apply that test to all classes of Establishment Clause cases —

including cases like this one that challenge incorporation of religion into the public

schools. The Third Circuit, moreover, treats the endorsement test as separate from the

Lemon test, applying the endorsement test first and then conducting a separate Lemon

inquiry. Best practice in this circuit, therefore, would be for this Court to do the same

here.


        6
              See, e.g., Defs.’ Reply Supp. Mot. Summ. J. at 52.

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             1.    The endorsement test applies in all Establishment Clause
                   cases.

      Despite defendants’ claim that ‘endorsement’ is a concept suited only to public

displays of religious objects, neither the Supreme Court nor the Third Circuit views

it that way. On the contrary, since a majority of the Supreme Court first implemented

the endorsement test in County of Allegheny v. ACLU,7 the Court has consistently

applied the test to all types of Establishment Clause cases — including, notably, ones

involving religion in public-school settings. And the same is true for the Third

Circuit.

      In case after case since Allegheny, the Supreme Court has applied the

endorsement test whenever Establishment Clause concerns have been implicated —

irrespective of whether the cases involved religious displays. In Santa Fe Independent

School District v. Doe, for example, the Court applied the endorsement test to school-

sponsored prayer at high-school football games.8 In Zelman v. Simmons-Harris, the

Court applied the test to a school-voucher program.9 In Good News Club v. Milford

Central School, the Court applied the test to a school district’s policy regarding a



      7
             492 U.S. 573 (1989).
      8
             530 U.S. 290, 307-10 (2000).
      9
             536 U.S. 639, 652-53 (2002).

                                          5
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student religious-club meeting on school property.10 In Mitchell v. Helms11 and

Agostini v. Felton,12 the Court applied the test to programs providing governmental

aid to parochial schools.13 In Rosenberger v. Rector & Visitors of the University of

Virginia, the Court applied the test to a public university’s policy regarding funding

of a student religious newspaper.14 And in Lamb’s Chapel v. Center Moriches Union

Free School District, the Court applied the test to a school district’s policy regarding

a church’s use of school facilities after hours.15 None of those cases involved a

challenge to a religious display; yet in each, the Supreme Court reviewed the

challenged governmental conduct to see whether it constituted religious

endorsement.16

      10
             533 U.S. 98, 118-19 (2001).
      11
             530 U.S. 793 (2000).
      12
             521 U.S. 203 (1997).
      13
             Mitchell, 530 U.S. at 835 (plurality op.); id. at 842 (O’Connor, J.,
concurring in judgment) (controlling concurring opinion); Agostini, 521 U.S. at 234-
35.
      14
             515 U.S. 819, 841-42 (1995); id. at 846 (O’Connor, J., concurring).
      15
             508 U.S. 384, 395 (1993).
      16
             Despite the Supreme Court’s reliance on the endorsement test in all
manner of Establishment Clause cases, defendants argued in their summary-judgment
Reply that this Court should not apply the endorsement test to the challenged policy
here because the Supreme Court did not apply that test to the creationism statutes at
issue in Epperson, supra, and Edwards v. Aguillard, 482 U.S. 578 (1987). See Defs.’

                                           6
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      The cases have something else in common too: In each, the Supreme Court

reviewed a public school district’s (or, in Rosenberger, a public university’s) policy

touching on religion. Accordingly, it is beyond peradventure that the endorsement test

applies to the policies of a public school district and the actions of its decisionmakers.

      Indeed, the Supreme Court could not have been more clear on that score than

it was in Santa Fe: The Court in that case first defined the endorsement test, noting,

“[i]n cases involving state participation in a religious activity, one of the relevant

questions is ‘whether an objective observer, acquainted with the text, legislative

history, and implementation of the statute, would perceive it as a state endorsement

of prayer in public schools.’”17 The Court then went on to describe more concretely

how the test functions in the public-school context, explaining:



Reply Supp. Mot. Summ. J. at 52. But Epperson was decided in 1968 — five years
before Lemon, and hence nearly two decades before Justice O’Connor first began to
articulate the endorsement test as a way to conceptualize Lemon. And not only did
Edwards similarly pre-date the test’s adoption in Allegheny, but the Supreme Court
in that case did invoke the endorsement concept. See Edwards, 482 U.S. at 585 (“If
the law was enacted for the purpose of endorsing religion, ‘no consideration of the
second or third criteria [of Lemon] is necessary.’” (quoting Wallace v. Jaffree, 472
U.S. 38, 56 (1985) (alteration in original)). And in all events, Edwards was a
‘purpose’ case, so there would have been no need for the Court to go into a full-scale
endorsement analysis even if the test had existed at the time, as the test itself is most
closely associated with Lemon’s ‘effect’ prong rather than its ‘purpose’ prong. See
infra Sections I.A.2, I.B.
      17
             530 U.S. at 308 (quoting Wallace, 472 U.S. at 73, 76).

                                            7
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             School sponsorship of a religious message is impermissible
      because it sends the ancillary message to members of the audience who
      are nonadherents “that they are outsiders, not full members of the
      political community, and an accompanying message to adherents that
      they are insiders, favored members of the political community.”18

Whatever reason defendants here may have to fear this Court’s application of the

endorsement test, their claim that it does not apply to cases like this one cannot be

squared with Santa Fe or the Supreme Court’s post-Allegheny Establishment Clause

jurisprudence generally.

      Nor does the law of this Circuit provide any more support for defendants’

position. On the contrary, the Third Circuit has not hesitated to apply the endorsement

test to cases involving public-school policies; indeed, in its recent cases the court of

appeals has gone a step further, treating the endorsement test as the primary

Establishment Clause inquiry. In Child Evangelism Fellowship v. Stafford Township

School District,19 for example, the court of appeals (per Judge Alito) applied the

endorsement test in considering whether a public school district would violate the

Establishment Clause if it allowed religious groups to access students through a take-

home-flyer system or a back-to-school-night event.20 And in ACLU v. Black Horse

      18
            Santa Fe, 530 U.S. at 309-10 (quoting Lynch v. Donnelly, 465 U.S. 668,
688 (1984) (O’Connor, J., concurring)).
      19
             386 F.3d 514 (3d Cir. 2004).
      20
             Id. at 530.

                                           8
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Pike Regional Board of Education,21 the court of appeals applied the endorsement test

in considering a challenge to a school-board policy with respect to whether prayer

would be included in high-school-graduation ceremonies. The court in Black Horse

Pike explained straightforwardly that its duty was to “determine whether, under the

totality of the circumstances, the challenged practice conveys a message favoring or

disfavoring religion.”22

      If defendants wish to advocate that the endorsement test should be abandoned

or that it should be held inapplicable in cases challenging public-school policies, they

must take up that issue in the Supreme Court. But unless or until the Supreme Court

directs a watershed change in its settled Establishment Clause jurisprudence, this

Court remains bound by the Supreme Court’s and the Third Circuit’s consistent

rulings: The endorsement test applies here just as much as in any other Establishment

Clause challenge.

             2.     In this circuit, the endorsement test should be applied separate
                    from, and prior to, the Lemon test.

      As for how the endorsement test relates to Lemon, the Third Circuit treats the

endorsement inquiry as a distinct test to be applied separately from, and prior to, the



      21
             84 F.3d 1471 (3d Cir. 1996).
      22
             Id. at 1486.

                                           9
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Lemon test. Thus, although this Court need not blind itself to the fact that there is

substantial overlap between the endorsement inquiry and Lemon’s effect prong, the

best practice will be for the Court to evaluate defendants’ conduct under the

endorsement test first, and then to subject it to traditional Lemon analysis.

      In a number of opinions, the Third Circuit wrestled with how to view the

endorsement test. In Black Horse Pike, the court initially took the view that it made

no difference whether the endorsement test was regarded as “a separate inquiry” or

merely “part of the inquiry under Lemon” because, as the court saw it, “the import of

the test is the same.”23 Later, in Tenafly Eruv Ass’n v. Borough of Tenafly, the court

took a different tack, treating the endorsement test as having superceded Lemon.24 But

in its most recent spate of Establishment Clause opinions, the court has settled on a

belt-and-suspenders approach:25      In Freethought Society v. Chester County,26




      23
             84 F.3d at 1486.
      24
             309 F.3d 144, 175-77 (3d Cir. 2002).
      25
               See, e.g., Modrovich v. Allegheny County, 385 F.3d 397, 406 (3d Cir.
2004) (“[A]lthough we find the endorsement test to be the appropriate standard by
which to scrutinize the Plaque, we will apply both the endorsement test and the Lemon
test, in case a higher court prefers to apply the traditional Lemon test.”).
      26
             334 F.3d 247, 261 (3d. Cir. 2003).

                                          10
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Modrovich v. Allegheny County,27 and Child Evangelism,28 the court adopted the

practice of applying both tests, conducting the endorsement inquiry first and then,

separately, measuring the challenged conduct against Lemon’s traditional purpose and

effect standards.

      But while the Third Circuit now formally treats the endorsement test and the

Lemon test as distinct inquiries to be performed seriatim, it has continued to recognize

the relationship between the two. In Freethought, for example, the court noted that

“effect under the Lemon test is cognate to endorsement,”29 and hence the court did not

hesitate simply to “incorporate [its] discussion of endorsement” into the effect

analysis.30 By contrast, the court in Child Evangelism treated the two inquiries as

implicating slightly different — albeit related — considerations: In its endorsement

inquiry the court focused on whether granting a religious group equal access to a

public school’s facilities would communicate a message that government was

sponsoring the group or its religious beliefs; and in its effect inquiry the court focused

      27
             385 F.3d at 401-04, 406-13.
      28
             386 F.3d at 530-35.
      29
           334 F.3d at 269. That conclusion follows logically from Justice
O’Connor’s explanation that “[t]he effect prong asks whether, irrespective of
government’s actual purpose, the practice under review in fact conveys a message of
endorsement or disapproval.” Lynch, 465 U.S. at 690 (O’Connor, J., concurring).
      30
             Id.

                                           11
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on whether allowing the group to use school facilities would improperly advance the

group’s religious mission.31     Yet Child Evangelism’s ‘effect’ analysis was

abbreviated — presumably because the court had already scrutinized the facts under

the endorsement test, and all that remained under the purpose prong was to apply

Lemon’s different conceptual framework to those facts.32

      The upshot is that, while Third Circuit precedent requires this Court to apply

the endorsement test and strongly encourages this Court then to apply traditional

Lemon analysis as a formally separate inquiry, this Court need not plow the same

ground twice. It may instead incorporate by reference the factual findings and legal

conclusions from the endorsement analysis insofar as they also relate to Lemon’s

effect prong. With those procedures in mind, and in order to alleviate some of the

burden on the Court, we turn to a more thorough and systematic explication of the

endorsement test.

      B.    Nature Of The Endorsement Test.

      “[T]here is a vital difference between purely private religiously motivated

conduct and conduct initiated or sponsored by government.”33 The endorsement test


      31
            386 F.3d at 531, 534.
      32
            Id. at 534.
      33
            Tenafly, 309 F.3d at 177 (citing Rosenberger, 515 U.S. at 841).

                                        12
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takes this distinction seriously, recognizing that when government transgresses the

limits of neutrality and acts in ways that show religious favoritism or sponsorship, it

violates the Establishment Clause.

      1.     As Justice O’Connor first elaborated it, the endorsement test was a gloss

on Lemon that encompassed both the purpose and the effect prongs:

      The central issue * * * is whether [the government] has endorsed
      [religion] by its [actions]. To answer that question, we must examine
      both what [the government] intended to communicate * * * and what
      message [its conduct] actually conveyed. The purpose and effect prongs
      of the Lemon test represent these two aspects of the meaning of the
      [government’s] action.”34

But as it developed through application, the test has come to be primarily a lens

through which to view ‘effect,’ with purpose evidence being relevant to the inquiry

derivatively — just as it always was to Lemon’s effect analysis — both because what


      34
             Lynch, 465 U.S. at 690 (O’Connor, J., concurring). As the plurality
explained in Texas Monthly, Inc. v. Bullock:

      In proscribing all laws “respecting an establishment of religion,” the
      Constitution prohibits, at the very least, legislation that constitutes an
      endorsement of one or another set of religious beliefs or of religion
      generally. It is part of our settled jurisprudence that “the Establishment
      Clause prohibits government from abandoning secular purposes in order
      to put an imprimatur on one religion, or on religion as such, or to favor
      the adherents of any sect or religious organization.”

489 U.S. 1, 8-9 (1989) (plurality op.) (citations omitted); see also Freiler v.
Tangipahoa Parish Bd. of Educ., 185 F.3d 337, 346 (5th Cir. 1999); Selman v. Cobb
County Sch. Dist., 390 F. Supp. 2d 1286, 1305-06 (N.D. Ga. 2005).

                                          13
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policymakers set out to accomplish is typically strong evidence of what they actually

do accomplish, and because members of the community take that fact into account

when considering what a particular enactment means.35 The test starts from the

principle that government may not “adopt a ‘preference for the dissemination of

religious ideas,’”36 recognizing that official action violates that proscription if it

“‘convey[s] * * * a message that religion or a particular religious belief is favored or

preferred.’”37 Ultimately, the test seeks to ascertain whether some action “place[s the

government’s] prestige, coercive authority, or resources behind a single religious faith

or behind religious belief in general,”38 on the ground that “[t]he Establishment

Clause, at the very least, prohibits government from appearing to take a position on




      35
             See, e.g., McCreary County, Ky. v. ACLU, 125 S. Ct. 2722, 2747 (2005)
(O’Connor, J., concurring) (“The purpose behind the counties’ display is relevant
because it conveys an unmistakable message of endorsement to the reasonable
observer.”); Lynch, 465 U.S. at 690 (O’Connor, J., concurring) (“The meaning of a
statement to its audience depends both on the intention of the speaker and on the
‘objective’ meaning of the statement in the community.”).
      36
            Allegheny, 492 U.S. at 593 (citing Texas Monthly, 489 U.S. at 28
(Blackman, J., concurring)).
      37
            Id. (quoting Wallace, 472 U.S. at 70 (O’Connor, J., concurring in
judgment)) (emphasis in original).
      38
             Texas Monthly, 489 U.S. at 9 (plurality op.).

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questions of religious belief or from‘making adherence to a religion relevant in any

way to a person’s standing in the political community.’”39

      The test consists of the reviewing court determining what message a challenged

governmental policy or enactment conveys to a reasonable, objective observer who

knows the policy’s language, origins, and legislative history, as well as the history of

the community and the broader social and historical context in which the policy

arose.40   “[T]he reasonable observer is an informed citizen who is more

knowledgeable than the average passerby”:41 In addition to knowing the challenged

conduct’s history, the observer is deemed able to “glean other relevant facts” from the

face of the policy in light of its context.42 And knowing the challenged policy’s

legislative history, the community’s history, and the broader social and historical


      39
             Allegheny, 492 U.S. at 594 (quoting Lynch, 465 U.S. at 687 (O’Connor,
J., concurring)).
      40
             McCreary, 125 S. Ct. at 2736-37 (objective observer “presumed to be
familiar with the history of the government’s actions and competent to learn what
history has to show”); Santa Fe, 530 U.S. at 308 (objective observer familiar with
“‘implementation of’” governmental action (citation omitted)); Selman, 390 F. Supp.
2d at 1306 (objective observer “familiar with the origins and context of the
government-sponsored message at issue and the history of the community where the
message is displayed”).
      41
             Modrovich, 385 F.3d at 407; accord Capitol Square Review & Advisory
Bd. v. Pinette, 515 U.S. 753, 779 (1995) (O’Connor, J., concurring).
      42
             Modrovich, 385 F.3d at 407; see also Freethought, 334 F.3d at 258-60.

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context in which the policy arose, the objective observer thus considers the publicly

available evidence relevant to the purpose inquiry,43 albeit not to ascertain, strictly

speaking, what the governmental purpose actually was. Instead, the observer looks

to that evidence to ascertain whether the policy “in fact conveys a message of

endorsement or disapproval” of religion, irrespective of what the government might

have intended by it.44 Put differently, whereas the purpose inquiry looks at the

“intention of the speaker” simpliciter, the effect inquiry focuses on “the ‘objective’

meaning of the statement [i.e., the challenged governmental conduct] in the

community” — an analysis that is informed by purpose evidence just to the extent that

an objective observer would look to that evidence to ascertain the conduct’s actual

meaning in and for the community.45

      2.     With apologies for belaboring the point, the Third Circuit recently

summarized the endorsement test this way:


      43
             See, e.g., Selman, 390 F. Supp. 2d at 1306-07.
      44
             Lynch, 465 U.S. at 690 (O’Connor, J., concurring) (“The central issue in
this case is whether [government] has endorsed Christianity by its [actions]. To
answer that question, we must examine both what [the government] intended to
communicate * * * and what message [its conduct] actually conveyed. The purpose
and effect prongs of the Lemon test represent these two aspects of the meaning of the
[government’s] action.”); Freiler, 185 F.3d at 346; Selman, 390 F. Supp. 2d at 1305-
06.
      45
             Lynch, 465 U.S. at 690 (O’Connor, J., concurring).

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      An unconstitutional endorsement of religion is said to occur when
      government makes adherence to a religion relevant in any way to a
      person’s standing in the political community. Endorsement sends a
      message to nonadherents that they are outsiders, not full members of the
      political community, and an accompanying message to adherents that
      they are insiders, favored members of the political community. * * *

             In order to determine whether a challenged practice constitutes an
      endorsement or disapproval of religion, the practice must be judged in
      its unique circumstances. In addition, the challenged practice must be
      considered from the perspective of a hypothetical reasonable observer
      who is aware of the history and context of the community and forum.46

The endorsement test’s central question remains, however, whether governmental

conduct in fact conveys a message of official endorsement or disapproval of religion,

with the reasonable, objective observer being the hypothetical construct for

considering that question.

      C.     Defendants’ Conduct Should Be Judged Both From The Standpoint
             Of An Objective Student And From The Standpoint Of An
             Objective Adult.

      The challenged conduct here falls into two basic categories: That which the

District directed to students in the classroom, and that which the District directed to

parents and the Dover community as a whole. Because the endorsement test is

designed to suss out “the ‘objective’ meaning of the statement [that the District’s



      46
             Child Evangelism, 386 F.3d at 530-31 (quotation marks and emphasis
omitted) (quoting Pinette, 515 U.S. at 780 (O’Connor, J., concurring); Allegheny, 492
U.S. at 624-25).

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conduct communicated] in the community”47 by focusing on how “the members of the

listening audience” perceive the conduct,48 those two categories of conduct must be

viewed from different perspectives. For the disclaimer that the District ordered the

science teachers (and, when they refused, the District’s administrators) to read in the

biology classrooms, the students are the primary listening audience. So at minimum,

“the operative inquiry is whether an ‘objective observer’ in the position of a student

of the relevant age would ‘perceive official school support’ for the religious activity

in question.”49 In other words, this Court should in the first instance consider “the

message conveyed by the disclaimer to the students who are its intended audience,”50

from the perspective of “an objective [Dover Area] High School student.”51 But as for

the conduct directed at the Dover community as a whole — most obviously the

newsletter advocating intelligent-design creationism that the Board voted to send to

every household in the district, as well as the Board members’ explication and defense



      47
             Lynch, 465 U.S. at 690 (O’Connor, J., concurring).
      48
             Santa Fe, 530 U.S. at 308.
      49
             Verbena United Methodist Church v. Chilton County Bd. of Educ., 765
F. Supp. 704, 711 (M.D. Ala. 1991) (quoting Bd. of Educ. v. Mergens, 496 U.S. 226,
249 (1990)).
      50
             Freiler, 185 F.3d at 346 (citing Allegheny, 492 U.S. at 620).
      51
             Santa Fe, 530 U.S. at 308.

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of the curriculum change in Board meetings and in the media — the listening audience

was and is much broader. So this Court must take that fact into account, evaluating

the conduct from the standpoint of a reasonable, objective, adult observer in the Dover

community.

      In both cases, defendants have communicated a clear and unequivocal message

that the Dover schools are endeavoring to “protect and maintain a particular religious

viewpoint,”52 both by disparaging the scientific theory historically thought to rival that

viewpoint, and by encouraging students to study and reflect on inherently religious

beliefs. Accordingly, both the statement read to students and the broader policy of

which it is a part are unconstitutional endorsements of religion that this Court should

strike down.

      D.       An Objective Student Would View The Disclaimer As A Strong
               Official Endorsement Of Religion.

      Because students in public schools “are impressionable and their attendance is

involuntary,”53 cases like this one require “particular[] vigilan[ce] in monitoring

compliance with the Establishment Clause.”54 Defendants insist that Dover ninth-

      52
               Freiler, 185 F.3d at 346.
      53
               Edwards, 482 U.S. at 584.
      54
             Id. at 583; see also Lee v. Weisman, 505 U.S. 577, 592-93 (1992)
(students are impressionable and must be protected from government’s coercive
power); Sch. Dist. v. Ball, 473 U.S. 373, 390 (1985) (“The inquiry into this kind of

                                           19
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graders are the disclaimer’s only relevant audience;55 so while that is wrong for the

reasons just stated, there is no question that the Court should, at minimum, evaluate

the disclaimer from a reasonable student observer’s standpoint.56 As explained below,

when the evidence is viewed from that perspective there can be only one conclusion:

The District has impermissibly sponsored a religious message in its public-school

biology classes.57

      1.     But first, plaintiffs must dispense with defendants’ suggestion that this

Court must ignore all the evidence apart from the bare text of the administrators’



effect must be conducted with particular care when many of the citizens perceiving
the governmental message are children in their formative years.”), overruled in part
on other grounds, Agostini v. Felton, 521 U.S. 203 (1997); Selman, 390 F. Supp. 2d
at 1306.
      55
             See Defs.’ Reply Supp. Mot. Summ. J. at 54.
      56
              Santa Fe, 530 U.S. at 307-08. Defendants contend, however, that the
endorsement test makes no sense here because (a) unlike in religious-display cases,
“[t]here is no ‘physical setting’ for th[e] observer to consider,” and (b) there is no way
to discern “how much or little knowledge” should be attributed to a ninth-grade
student. Defs.’ Reply Supp. Mot. Summ. J. at 53-54. Yet the Supreme Court applied
the endorsement test in Santa Fe — where the listening audience consisted primarily
of high-school students; the challenged conduct was school-sponsored prayer; and the
setting was a high-school football game. See Santa Fe, 530 U.S. at 307-08. The
Supreme Court was not stymied in applying the endorsement test by the fact that the
challenge was to a spoken prayer rather than a tangible physical object, nor did it
hesitate to ascribe to the objective student the knowledge of the challenged policy’s
history that the endorsement test presupposes. Id. at 308.
      57
             See id. at 309-10.

                                           20
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statement. While defendants apparently wish to treat Dover biology students as either

stupid or tragically uninformed about the controversy swirling around them — a

position that itself reflects poorly on the Board and the school administrators charged

with educating them — the Supreme Court in Santa Fe took a much more expansive

view of the reasonable, objective student’s knowledge, positing that an “objective

Santa Fe High School student” would know “the text and history” of the policy

permitting student-led prayer at school football games, and holding that such

background knowledge would “reinforce our objective student’s perception that the

prayer is, in actuality, encouraged by the school.”58 Similarly, in evaluating a school

district’s policy regarding inclusion of religious groups’ flyers in the take-home

folders that the district provided to elementary-school students, the Third Circuit held

in Child Evangelism that “a reasonable observer, ‘aware of the history and context of

the community and forum,’ would know that [the school district] has a policy of

assisting a broad range of community groups, that [the district] plays no role in

composing the flyers that are sent home and does not pay for them, and that [the

district’s] teachers do not discuss the flyers in class.”59 Citing the Supreme Court’s


      58
             Id. at 308; cf. Mergens, 496 U.S. at 250 (“secondary school students are
mature enough and are likely to understand that a school does not endorse or support
student speech that it merely permits on a nondiscriminatory basis”).
      59
             Child Evangelism, 386 F.3d at 531.

                                          21
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admonition in Good News not to proscribe religious activity “on the basis of what the

youngest members of the audience might misperceive,”60 the court of appeals thus

imputed to elementary-school students a detailed, sophisticated knowledge about the

flyer-distribution system, school-board policies, and the nature of the surrounding

community — despite the defendant school district’s insistence that the students were

incapable of understanding the distinction between school-sponsored extracurricular

activities, on the one hand, and privately run activities that the school assisted in

publicizing, on the other.61 The point, of course, is that a reasonable, objective student

is not any actual student (or even an amalgam of actual students), but instead is a

hypothetical student — one to whom the reviewing court imputes detailed historical

and background knowledge, but also one who interprets the challenged conduct, in the

light of that knowledge, with the level of intellectual sophistication that a child of the

relevant age would bring to bear.

        Indeed, reviewing courts often make no distinction at all between an adult

observer and a student observer when deciding whether a public school’s conduct




        60
              533 U.S. at 119.
        61
              Child Evangelism, 386 F.3d at 532 (quoting Good News, 533 U.S. at 118-
119).

                                           22
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conveys an unconstitutional message of religious endorsement,62 an approach that

makes good sense because the imputed knowledge is the same in either case. But

even in those cases where courts do draw that distinction, they do not treat the

objective-student-observer standard as a ground for excluding contextual evidence so

as to insulate governmental conduct from scrutiny. On the contrary, where reviewing

courts have looked at a practice through students’ eyes, they have recognized that

because students are more impressionable than adults, they may be systematically less

effective than adults at recognizing when religious conduct is unofficial and therefore

permissible.63 In other words, the objective-student standard is not a tool for


      62
             See, e.g., Wallace, 472 U.S. at 76 (O’Connor, J., concurring) (“The
relevant issue is whether an objective observer, acquainted with the text, legislative
history, and implementation of the statute [requiring public schools to observe
moment of silence], would perceive it as a state endorsement of prayer in public
schools.”); Black Horse Pike, 84 F.3d at 1487 (“the reasonable observer here could
not help but conclude that the Board favors the inclusion of prayer” in public-high-
school graduation ceremony); Doe v. Harlan County Sch. Dist., 96 F. Supp. 2d 667,
675 (E.D. Ky. 2000) (to determine whether Ten Commandments display in public
high school conveys message of religious endorsement, “the court must ask whether
an objective observer acquainted with the displays would perceive them as a
governmental endorsement of religion”), aff’d, ACLU v. McCreary County, Ky., 354
F.3d 438 (6th Cir. 2003), cert. denied sub nom. Harlan County, Ky. v. ACLU, 125 S.
Ct. 2988 (2005); Washegesic v. Bloomingdale Pub. Sch., 813 F. Supp. 559, 565 (W.D.
Mich. 1993) (“The Court finds that any reasonable observer would find that the
picture of Jesus [displayed in public high school] transmits a religious message.”),
aff’d, 33 F.3d 679 (6th Cir. 1994).
      63
            See, e.g., Selman, 390 F. Supp. 2d at 1311 (textbook sticker stating that
evolution was theory was particularly likely to convey message of endorsement “given

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excluding or ignoring material evidence; it is instead a means to ensure that courts

exercise the particular vigilance — the extra modicum of care — that the Supreme

Court has mandated for protecting impressionable children from religious messages

that appear to carry official imprimatur.64

      2.     As for how the disclaimer in this case bears up under endorsement-test

analysis, application of the objective-student standard is straightforward:         An

objective Dover ninth-grader will “unquestionably perceive” the text of the disclaimer,

“enlightened by its context and contemporary legislative history,”65 as conferring on

a religious concept “her school’s seal of approval.”66




the Sticker’s intended audience, impressionable school students”); Joki v. Bd. of
Educ., 745 F. Supp. 823, 831 (N.D.N.Y. 1990) (“To an impressionable student, even
the mere appearance of secular involvement in religious activities might indicate that
the state has placed its imprimatur on a particular religious creed.”); see also Doe v.
Porter, 370 F.3d 558, 563 (6th Cir. 2004) (“Because [Bible course] is conducted in
public school classrooms, during school hours, and for children who are as young as
kindergarten age, we must treat the objective observers as students in these classes.”).
      64
             See generally Edwards, 482 U.S. at 584.
      65
             Selman, 390 F. Supp. 2d at 1300; see Edwards, 482 U.S. at 594 (in
addition to “[t]he plain meaning of the [enactment’s] words, enlightened by their
context and the contemporaneous legislative history,” Supreme Court also looks for
legislative purpose in “the historical context of the [enactment], and the specific
sequence of events leading to [its] passage”).
      66
             Santa Fe, 530 U.S. at 308.

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      The disclaimer here singles out evolutionary theory for special treatment;

misrepresents its status in the scientific community; causes students to doubt its

validity without scientific justification; presents students with a religious alternative

masquerading as a scientific theory; directs them to consult a creationist text as though

it were a science resource; and cordons off from the science curriculum a topic with

religious implications, instructing students to forego scientific inquiry at school and

instead to seek out religious instruction elsewhere. And as Drs. Alters and Miller

testified, introducing intelligent design necessarily invites religion into science class:

It sets up what will be perceived by students as a “God-friendly” science (the one that

mentions an intelligent designer) and that ‘other science’ (evolution) that takes no

position on religion.67 Or, in Dr. Miller’s words, it produces a false duality: It “tells

students * * * quite explicitly, choose God on the side of intelligent design or choose

atheism on the side of science.”68 Introducing such a religious conflict into the

classroom is “very dangerous” because it forces students to “choose between God and

science” — not a choice that schools should be foisting on them.69




      67
             14:144-45 (Alters).
      68
             2:54-55 (Miller).
      69
             2:55 (Miller).

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      In each respect, the disclaimer communicates the strong, unequivocal message

that the Dover Area School District, its Board of Directors, and its administrators are

promoting a particular religious view.

      3.     Taking the disclaimer paragraph by paragraph:

      In the disclaimer’s first paragraph, defendants tell students that the

“Pennsylvania Academic Standards require [them] to learn about Darwin’s Theory of

Evolution and eventually to take a standardized test of which evolution is a part.”70

Defendants do not mandate a similar pronouncement about any other aspect of the

biology curriculum or the curriculum for any other course — even though the state

standards speak directly to numerous other topics covered in the biology curriculum

and the students’ other classes, and even though standardized tests cover those other

topics as well. As the unrefuted testimony of science-education-expert Dr. Alters

explains, and the testimony of Drs. Miller and Padian confirms, the message that this

paragraph communicates to students is that:

      [W]e have to teach this stuff[.] The other stuff we’re just going to teach
      you, but now this one we have to say the Pennsylvania academic
      standards require[] students to * * * eventually take a test. We’d rather
      not do it, but Pennsylvania academic standards * * * require students to
      do this.71


      70
             P124.
      71
             14:110-11 (Alters).

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In other words, the paragraph disavows evolutionary theory, telling students that they

will have to hear the upcoming lesson on evolution because the state says so, even

though the Board and school administrators ‘know’ that evolutionary theory is flimsy

or false.

       In the second paragraph, defendants tell students that “Darwin’s Theory is a

theory,” that “it continues to be tested as new evidence is discovered,” that “it is not

a fact,” and that it has “[g]aps * * * for which there is no evidence.”72 The paragraph

thus goes even further in singling out evolution from the rest of the science

curriculum: The paragraph suggests to students that evolution, unlike everything else

they are learning, is ‘just a theory,’ thereby playing on the “colloquial or popular

understanding of the term [‘theory’] and suggest[ing] to the informed, resonable

observer that evolution is only a highly questionable ‘opinion’ or ‘hunch.’”73 And it

tells students that evolutionary theory has “gaps” — a bizarre, indeed incoherent, way

to speak of a scientific theory — without suggesting even the possibility that other

scientific theories might suffer the same supposed weakness. As Dr. Alters — the

only science-education expert in the case — explained, the paragraph is thus




       72
             P124.
       73
             Selman, 390 F. Supp. 2d at 1310; see 14:110-12 (Alters); 1:92 (Miller).

                                          27
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misleading and creates misconceptions in students about evolutionary theory:74 It

misrepresents the scientific status of evolution, telling students that they should regard

it as singularly unreliable or on shaky ground. Dr. Miller, speaking from the

standpoint of a working biologist and author of the high-school-biology textbook,

agreed, and went on to conclude that there is no scientific basis for introducing

students to intelligent design.75 But perhaps most tellingly, even plaintiffs’ expert

Professor Fuller agreed as well, stating as his own expert opinion that the disclaimer

is misleading.76 And Dr. Padian put the point most bluntly, stating that in confusing

students about science generally and evolution in particular, the disclaimer makes

students “stupid.”77 In short, the disclaimer’s second paragraph undermines the

students’ education in evolutionary theory, setting the groundwork for presenting

students with the District’s favored religious alternative.

      And presenting that alternative is, of course, just what the third paragraph does:

Defendants serve up intelligent design as an alternative “explanation of the origin of

life that differs from Darwin’s view,” and they direct students to consult Of Pandas


      74
             14:117.
      75
             2:47-55.
      76
             Fuller Dep. 111.
      77
             17:48-52.

                                           28
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and People as though it were a scientific text that provided a scientific account of, and

empirical scientific evidence for, intelligent design. The disclaimer thus contrasts the

theory (or “view”) that biological organisms evolve — a theory that the District has

now discredited in the students’ eyes — with an alternative “explanation” that can be

offered without qualification or cautionary note. In other words, the disclaimer relies

on the very same “contrived dualism” that the court in McLean v. Arkansas Board of

Education recognized to be a creationist tactic that has “no scientific factual basis or

legitimate educational purpose.”78 And the overwhelming evidence at trial establishes



      78
             529 F. Supp. 1255, 1266 (E.D. Ark. 1982). As the McLean court
explained:

      The approach to teaching “creation science” and “evolution
      science” * * * is identical to the two-model approach espoused by the
      Institute for Creation Research and is taken almost verbatim from ICR
      writings. It is an extension of Fundamentalists’ view that one must
      either accept the literal interpretation of Genesis or else believe in the
      godless system of evolution.

      The two model approach of the creationists is simply a contrived dualism
      which has no scientific factual basis or legitimate educational purpose.
      It assumes only two explanations for the origins of life and existence of
      man, plants and animals: It was either the work of a creator or it was
      not. Application of these two models, according to creationists, and the
      defendants, dictates that all scientific evidence which fails to support the
      theory of evolution is necessarily scientific evidence in support of
      creationism and is, therefore, creation science “evidence” * * *.

Id. (footnote omitted).

                                           29
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that intelligent design is a religious view — the progeny of creation science — and not

a scientific theory.79 As the Fifth Circuit held in Freiler, an educator’s “reading of a

disclaimer that not only disavows endorsement of educational materials but also

juxtaposes that disavowal with an urging to contemplate alternative religious concepts

implies School Board approval of religious principles.”80

      In the fourth paragraph, defendants encourage students to “keep an open mind,”

while “leav[ing] the discussion of the Origins of Life to individual students and their

families.” The disclaimer thus mimics the one that the Fifth Circuit struck down in

Freiler in two other key respects as well: First, while encouraging students to keep

an open mind and explore alternatives to evolution, it offers no scientific alternative;

instead, the only alternative that it offers is an inherently religious one — namely,

intelligent-design creationism.81 But even an unsophisticated ninth-grader — not to

mention a reasonable, objective, fully informed one — will figure out that the phrase

‘intelligent design’ necessarily contemplates an ‘intelligent designer,’ i.e., a


      79
             FF17-29.
      80
             185 F.3d at 348.
      81
              Cf. Freiler, 185 F.3d at 344-46 (disclaimer urging students to “exercise
critical thinking and gather all information possible and closely examine each
alternative toward forming an opinion” referenced “‘Biblical version of Creation’ as
the only alternative theory,” thus “encourag[ing] students to read and meditate upon
religion in general and the ‘Biblical version of Creation’ in particular”).

                                          30
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supernatural creator, which the Supreme Court has identified as an inherently religious

concept.82 In other words, whether a student accepts the Board’s invitation to explore

Pandas (and hence reads and possibly takes to heart that creationist text) or instead

follows the Board’s other suggestion and discusses ‘Origins of Life’ with family

members, it requires no great leap for the student to infer that the District’s favored

view is a religious one — and therefore that the District is sponsoring religion.

Second, in directing students to their families to learn about the “Origins of Life,” the

paragraph performs exactly the same function as the Freiler disclaimer: It “remind[s]

that students have the right to maintain beliefs taught by their parents regarding the




      82
              Edwards, 482 U.S. at 591 (“The preeminent purpose of the Louisiana
Legislature was clearly to advance the religious viewpoint that a supernatural being
created humankind.”); id. at 599 (Powell, J., concurring) (“[T]he Balanced Treatment
Act mandates that public schools present the scientific evidence to support a theory
of divine creation whenever they present the scientific evidence to support the theory
of evolution. ‘[C]oncepts concerning God or a supreme being of some sort are
manifestly religious . . . . These concepts do not shed that religiosity merely because
they are presented as a philosophy or as a science.’” (quoting Malnak v. Yogi, 440 F.
Supp. 1284, 1322 (D.N.J. 1977), aff’d, 592 F.2d 197 (3d Cir. 1979) (per curiam));
accord McLean, 529 F. Supp. at 1265 (“The argument that creation from nothing * * *
does not involve a supernatural deity has no evidentiary or rational support. To the
contrary, ‘creation out of nothing’ is a concept unique to Western religions. In
traditional Western religious thought, the conception of a creator of the world is a
conception of God. Indeed, creation of the world ‘out of nothing’ is the ultimate
religious statement because God is the only actor. * * * The only ‘one’ who has this
power is God.”).

                                           31
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origin of life,”83 thereby stifling the critical thinking that the class’s study of

evolutionary theory might otherwise prompt, in order to protect a religious view from

what the Board considers a threat to that view.84 But the Supreme Court has long

recognized that “there can be no legitimate state interest in protecting particular

religions from scientific views ‘distasteful to them.’”85

      4.     The classroom presentation of the disclaimer conveys a strong message

of religious endorsement in at least three other respects as well.

      First, school administrators make a special appearance in the science classrooms

to deliver the disclaimer, displacing the regular classroom teachers. There is no

evidence that the students hear a disclaimer on any other topic in the curriculum. An

objective student observer thus would not be blind to the fact that this message is

special, and therefore carries special weight. What is more, the objective student

would be familiar with the fact that the administrators are reading the statement

because the teachers refused to do so, on the ground that they are legally and ethically


      83
             185 F.3d at 346.
      84
              Id. at 344-45 (because disclaimer effectively told students “that evolution
as taught in the classroom need not affect what they already know,” it sent message
that was “contrary to an intent to encourage critical thinking, which requires that
students approach new concepts with an open mind and a willingness to alter and shift
existing viewpoints”).
      85
             Edwards, 482 U.S. at 590-91 (quoting Epperson, 393 U.S. at 107).

                                           32
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barred from misrepresenting a religious belief as science.86 Thus, the students would

have yet more reason to conclude that the District was advocating a non-scientific,

religious view in biology class.87 And indeed, Dr. Alters testified that the teacher ‘opt

out’ adds “novelty,” thereby enhancing the importance of the disclaimer in students’

eyes.88

      Second, the administrators inform the students that “there will be no other

discussion of the issue and your teachers will not answer questions on the issue.”89

Unlike everything else in the curriculum, in other words, the topic introduced in the

disclaimer — intelligent design — is so sensitive that the students and their teachers

      86
             25:56-57 (Nilsen); 35:38 (Baksa).
      87
              And even if, as defendants presumably would contend, the students lack
such knowledge of the teachers’ actions and so that information would not inform the
Court’s inquiry into how they perceive the policy, the students’ unawareness of the
teachers’ position would only compound the problem. For if a student does not know
that the administrators are presenting the disclaimer because the science teachers
refused, the theater of having the superintendent enter the classroom to make an
official pronouncement would give the disclaimer an “overwhelming presence” in the
students’ eyes — no matter how short the disclaimer itself might be — thereby
stamping the Board’s religious message even more clearly with the District’s seal of
approval. Selman, 390 F. Supp. 2d at 1311; see also Santa Fe, 530 U.S. at 307-08
(because school allows broadcasting of invocation over public-address system as part
of school’s pre-football-game ceremony, “an objective Santa Fe High School student
will unquestionably perceive the inevitable pregame prayer as stamped with her
school’s seal of approval”).
      88
             14:123-25.
      89
             P124.

                                           33
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are barred from asking questions or talking about it.90 Thus, as Dr. Alters explained,

the reasonable student observer would conclude that intelligent design is some kind

of “secret science that students apparently can’t discuss with their science teacher.”91

And that, Dr. Alters explains, is pedagogically “about as bad as I could possibly think

of.”92



         90
               Defendants’ attempt to excuse the disclaimer by saying that the
superintendent is not ‘teaching’ intelligent design but instead is merely ‘making
students aware of it’ is nonsense both as a pedagogical matter and as a linguistic one.
As Dr. Alters, the District’s own science teachers, and plaintiffs Christy Rehm and
Steven Stough — who are themselves teachers — all testified, an educator who reads
the disclaimer is indeed engaged in ‘teaching,’ even if it is colossally bad teaching.
See, e.g., 6:77 (C. Rehm); 15:139-40 (Stough). The disclaimer is, after all, a “mini-
lecture” that, as Dr. Alters explains, “facilitates learning” about the topics included
therein — namely, evolutionary theory and intelligent design. 14:120-23. See
generally WEBSTER’S THIRD NEW INTERNATIONAL DICTIONARY 2346 (1986)
(defining ‘teach’ to include “present[ing] in a classroom lecture or discussion”). And
superintendent Nilsen agrees that students “learn” from the statement, irrespective of
whether it gets labeled as ‘teaching.’ 26:39. But even if defendants were correct as
a descriptive matter that the disclaimer does not ‘teach,’ defendants’ argument would
still be a red herring: The Establishment Clause forbids not just ‘teaching’ religion,
but any governmental action that endorses or has the primary purpose or effect of
advancing religion. Thus, for example, the constitutional violation in Epperson
consisted not of teaching a religious concept but of forbidding the teaching of a
secular one — evolution — for religious reasons. 393 U.S. at 103 The violation in
Santa Fe was school sponsorship of prayer at an extracurricular activity. 530 U.S. at
307-09. And the violation in Selman was embellishing students’ biology textbooks
with a warning sticker disclaiming evolution. 390 F. Supp. 2d at 1312.
         91
               14:125-27.
         92
               14:127.

                                          34
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      Third, students who do not wish to be exposed to the District’s advocacy

against evolution and in favor of intelligent-design creationism — or students whose

parents do not care to have them exposed to that message — must absent themselves

from the classroom in order to avoid the unwanted religious message. The stark

choice between submitting to state-sponsored religious instruction and getting out of

the public-school classroom is, as much as anything plaintiffs can imagine, a clear

message to students “who are nonadherents ‘that they are outsiders, not full members

of the political community.’”93

      5.     But that is not all. Santa Fe, Freiler, and the other pertinent authorities

all make clear that the objective student observer’s judgment about the nature of the

Board’s message would be informed by the legislative history and historical context

in which the disclaimer was adopted.94 For as the Third Circuit has recognized, “‘the

history and ubiquity’ of a practice is relevant because it provides part of the context




      93
            Santa Fe, 530 U.S. at 309-10 (quoting Lynch, 465 U.S. at 688
(O’Connor, J., concurring).
      94
             Santa Fe, 530 U.S. at 308 (“The text and history of this policy, moreover,
reinforce our objective student’s perception that the prayer is, in actuality, encouraged
by the school.”); Freiler, 185 F.3d at 346.

                                           35
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in which a reasonable observer evaluates whether a challenged governmental practice

conveys a message of endorsement of religion.”95

      Thus the student would know, in the first instance, that the Board advocated for

the curriculum change and disclaimer in expressly religious terms, that the proposed

curriculum change prompted massive community debate over the Board’s attempts

to inject religious concepts into the science curriculum, and that the Board adopted the

policy in furtherance of an expressly religious agenda.96 And the objective student’s

perception that the disclaimer is a religious message would be informed by the

student’s knowledge that the Board expressly designed it as one.


      95
            Freethought, 334 F.3d at 259 (quoting Pinette, 515 U.S. at 780
(O’Connor, J., concurring in part and concurring in judgment).
      96
             See infra Section II.B.

       In Selman, for example, the court determined that “the informed, reasonable
observer would know that (i) “a significant number of Cobb County citizens had
voiced opposition to the teaching of evolution for religious reasons”; (ii) “citizens and
parents largely motivated by religion put pressure on the School Board to implement
certain measures that would nevertheless dilute the teaching of evolution”; and (iii)
“the language of the Sticker essentially mirrors the viewpoint of these religiously
motivated citizens.” Selman, 390 F. Supp. 2d at 1307. Thus, the court held that, “[i]n
light of the historical opposition to evolution by Christian fundamentalists and
creationists in Cobb County and throughout the Nation, the informed, reasonable
observer would infer the School Board’s problem with evolution to be that evolution
does not acknowledge a creator.” Id. at 1309. Although Selman appears to have
applied an adult-observer standard, the court’s conclusions would be equally valid
here because precisely the same knowledge would be imputed to the objective student
as to the objective adult.

                                           36
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       The student would also know something about the history of religious

opposition to evolution, and would recognize that the Board’s policy was in keeping

with that tradition. In Santa Fe, the Supreme Court presumed that “every Santa Fe

student understands clearly” that the school district’s policy “is about prayer” (and not

student free-speech rights, as the school board had alleged);97 and the Court premised

that presumption on the principle that “the history and ubiquity” of the graduation-

prayer practice “provides part of the context in which a reasonable observer evaluates

whether a challenged governmental practice conveys a message of endorsement of

religion.”98

       Here, the historical context that the objective student would know is that, “[o]ut

of the many possible science subjects taught in the public schools, the legislature

chose to affect the teaching of the one scientific theory that historically has been

opposed by certain religious sects” — a factor that weighed heavily in the Supreme

Court’s decision to strike down the balanced-treatment law in Edwards.99 And the

objective student would know that “encouraging the teaching of evolution as a theory




       97
               Santa Fe, 530 U.S. at 315.
       98
               Allegheny, 492 U.S. at 593; see also Black Horse Pike, 84 F.3d at 1486.
       99
               482 U.S. at 593.

                                            37
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rather than as a fact is one of the latest strategies to dilute evolution instruction

employed by anti-evolutionists with religious motivations.”100

      Indeed, an objective student would know far more than that.               But for

simplicity’s sake, we save the more detailed historical analysis for the next Section (as

the objective adult would similarly possess a detailed historical knowledge).

      E.     An Informed, Objective Dover Citizen Would Perceive Defendants’
             Conduct To Be A Strong Endorsement Of A Religious View.

      Quite apart from what an objective student would perceive upon hearing the

superintendent deliver the disclaimer, this Court should also consider how a

reasonable, objective, informed adult observer in the Dover community would

perceive the challenged policy. That is because the unrefuted evidence offered at trial

establishes that, although the disclaimer may be read to students in their biology

classes, the Board made and defended its decision to implement the curriculum change

publicly — thus casting the entire community as the “listening audience” for its

religious message.101

      When a governmental practice bearing on religion occurs within view of the

entire community, the reasonable observer is an objective, informed adult within the



      100
             Selman, 390 F. Supp. 2d at 1308.
      101
             Santa Fe, 530 U.S. at 308.

                                           38
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community at large — even if the specific practice is directed at only a subset of that

community. Indeed, courts routinely look beyond the government’s ‘intended

audience’ to the broader listening audience — i.e., everyone who receives the message

that the governmental conduct is communicating — because, otherwise, government

would be free to sponsor religious messages simply by declaring that those who share

in the beliefs that it is espousing are the message’s only intended recipients.102 In

other words, the endorsement test recognizes that “our concern is with the political


      102
             See Allegheny, 492 U.S. at 597 (“when evaluating the effect of
government conduct under the Establishment Clause, we must ascertain whether ‘the
challenged governmental action is sufficiently likely to be perceived by adherents of
the controlling denominations as an endorsement, and by the nonadherents as a
disapproval, of their individual religious choices’”) (quoting Ball, 473 U.S. at 390);
see also Black Horse Pike, 84 F.3d at 1486 (“the viewpoint of the reasonable observer
(adherent or nonadherent) helps us to determine if the ‘principal or primary effect [is]
one that neither advances nor inhibits religion’”) (quoting Lemon v. Kurtzman, 403
U.S. 602, 612 (1971)).

       In Tenafly, for example, the Third Circuit applied the endorsement test to the
question whether a town would violate the Establishment Clause if it allowed a group
of Orthodox Jews to attach markers to utility poles for religious reasons (in order to
demarcate a region in which they would be permitted to engage in certain conduct on
the Sabbath that they otherwise would have regarded as prohibited). 309 F.3d at 174-
78. Although the markers “were attached for the benefit of other Orthodox Jews, not
the general public” (id. at 161-62), the court nonetheless performed the endorsement
inquiry from the standpoint of a reasonable, informed, objective observer in the
community at large (id. at 176-77). And that only makes sense: Although Orthodox
Jews were the markers’ “intended audience” in the sense that they were the ones for
whose benefit the markers were placed (id. at 161-62), the markers nonetheless
appeared on utility poles, where anyone in the community might see them and attempt
to ascertain their meaning and the government’s relationship to them.

                                          39
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community writ large”:103 When government speaks or acts in ways that favor a

particular religious belief, the entire community hears the message and recognizes that

the government is playing favorites among faiths.

      Thus, as noted above,104 courts often do not see any need to distinguish between

the objective student and the objective adult in determining whether a school policy

conveys a message of religious endorsement.105 For when the same knowledge is

imputed to both hypothetical observers, they generally reach the same conclusion.

Thus, for example, the court in Selman considered the challenged textbook warning

stickers from the perspective of a reasonable observer in the community, even though

the intended audience for the stickers was the students on whose biology books they

appeared.106 And although in Freiler the Fifth Circuit considered “the message

conveyed by the disclaimer to students who are its intended audience,” the court


      103
             Pinette, 515 U.S. at 779 (O’Connor, J., concurring).
      104
             See supra Section I.C.
      105
              See, e.g., Wallace, 472 U.S. at 76-77 (O’Connor, J., concurring) (state
statute requiring moment of silence); Black Horse Pike, 84 F.3d at 1486 (public-high-
school graduation prayer); Harlan County Sch. Dist., 96 F. Supp. 2d at 675 (Ten
Commandments display in public high school); Washegesic, 813 F. Supp. at 565
(Jesus portrait in public high school).
      106
              See 390 F. Supp. 2d at 1312 (“the Sticker conveys an impermissible
message of endorsement and tells some citizens that they are political outsiders while
telling others that they are political insiders”).

                                          40
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nevertheless went on to hold that “there is a * * * danger of students and parents

perceiving that the School Board endorses religion, specifically those creeds that teach

the Biblical version of creation.”107

      But here, the reason that this Court should look to an objective adult observer

is even more straightforward: Not only were parents and other citizens part of the

listening audience for the Board’s curriculum change, but they were part of its

‘intended audience’ as well.

      First and foremost, the Board invited [or, more accurately, “dragged”] the

public into the debate over whether to include intelligent-design creationism in the

curriculum. The Board proposed, advocated, and ultimately approved its preferred

policy in public board meetings — meetings where members of the public not only

attended but also had the opportunity to offer public comment on the proposal. And

in those meetings, several Board members pressed the policy in expressly religious

terms (with their comments reported extensively in the local newspapers).108 At least

two Board members, Buckingham and Geesey, also defended the proposed curriculum

change in the media, again in expressly religious terms.109 And if all that were not


      107
             185 F.3d at 346, 348 (emphasis added).
      108
             See infra Section II.B.2; FF 170-77.
      109
             P145; P60.

                                          41
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enough, the Board then sent a newsletter to every household in Dover, explaining the

religious concept that the District was incorporating into the biology curriculum.110

So even those who had no children, never attended a board meeting, and never

concerned themselves in any other way with informing themselves about school

policies, were confronted with and made the listening audience for the District’s

announcement of its sponsorship of a religious view.

      Beyond that, the District has assigned parents a special role with respect to the

policy: It sends them a letter when their children are taking biology, “asking if anyone

ha[s] a problem with the [disclaimer] statement,” and calling on them to decide

whether to allow their children to remain in the classroom and hear the religious

message or instead to direct their children to leave the room.111 When parents must

give permission for their children to participate in an activity, the Supreme Court has

held that the parents are the relevant audience for purposes of the endorsement test.112

      110
             P127.
      111
              P124 (preamble to disclaimer describing to students contents of letter to
their parents).
      112
              See Good News, 533 U.S. at 115 (parents are relevant audience for
determining whether presence of after-school Bible club at public elementary school
conveyed message of religious endorsement because the parents had to give children
permission to participate in club); see also Rusk v. Crestview Local Sch. Dist., 379
F.3d 418, 421 (6th Cir. 2004) (parents are audience for flyers distributed to
elementary-school students because parents must give permission for children to
participate in advertised activities).

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So the converse must also be true: When parents must decide whether to withhold

permission to participate in an activity or course of instruction, they remain the

relevant audience for ascertaining whether government is communicating a message

favoring religion.

      Viewed from the perspective of an objective adult member of the Dover

community (or, if the Court prefers, that of a reasonable, objective Dover parent), the

evidence is overwhelming that defendants have improperly endorsed religion.

             1.      An objective observer would know that intelligent design and
                     teaching about supposed gaps and problems in evolutionary
                     theory are creationist religious strategies that evolved from
                     earlier forms of creationism.

      The history of the intelligent-design movement and the development of the

strategy to weaken education in evolution by focusing on supposed gaps in the theory

are the historical and cultural background against which the Dover Area School Board

acted in adopting the challenged policy. So because a reasonable observer (whether

adult or child) would be aware of this social context, and would use it to shed light on

the meaning and message of defendants’ actions here, we trace the history at some

length.

      1.     Opposition to teaching evolution grew out of a religious tradition —

Christian fundamentalism — that “began in nineteenth century America as part of



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evangelical Protestantism’s response to,” among other things, Charles Darwin’s

exposition of the theory of evolution as a scientific explanation for the diversity of

species.113 Then, in an “upsurge of ‘fundamentalist’ religious fervor of the twenties,”

religiously motivated groups pushed state legislatures to adopt laws prohibiting public

schools from teaching evolution,114 leading to the Scopes ‘monkey trial’ of 1925.115

But the battle against evolution was cultural as much as legal: “Between the 1920’s

and early 1960’s, anti-evolutionary sentiment had a subtle but pervasive influence on

the teaching of biology in public schools,” with one consequence being that,

“[g]enerally, textbooks avoided the topic of evolution.”116 In other words, formal

legal sanctions reinforced a religiously based social movement to expel the scientific

theory of evolution from the classroom.

      The legal landscape changed radically in 1968 when, in Epperson,117 the

Supreme Court struck down Arkansas’s statutory prohibition against teaching



      113
            McLean, 529 F. Supp. at 1258; see also, e.g., Edwards, 482 U.S. at 590-
92; Epperson, 393 U.S. 98, 107-08.
      114
             Epperson, 393 U.S. at 98; accord McLean, 529 F. Supp. at 1259.
      115
            McLean, 529 F. Supp. at 1259; see Scopes v. Tennessee, 289 S.W. 363
(1927) (criminal prosecution of public-school teacher for teaching about evolution).
      116
             McLean, 529 F. Supp. at 1259.
      117
             393 U.S. 97.

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evolution. Although, unlike the Scopes law, the Arkansas statute did not include

direct references to the Book of Genesis or the fundamentalist view that religion

should be protected from science, the Supreme Court readily concluded that “the

motivation for the [Arkansas] law was the same: to suppress the teaching of a theory

which, it was thought, ‘denied’ the divine creation of man.”118

      Following Epperson, evolution’s religious opponents replaced the outright

prohibitions that the Supreme Court had invalidated with “balanced treatment”

statutes requiring public-school teachers who taught evolution to devote equal time

to teaching the biblical view of creation. But in Daniel v. Waters,119 the Sixth Circuit

rejected this new ploy as just another attempt to “establish[] the Biblical version of the

creation of man.”120 The court held that, by assigning a “preferential position for the

Biblical version of creation” over “any account of the development of man based on

scientific research and reasoning,” the challenged statute officially promoted religion,

violating the Establishment Clause.121




      118
              Edwards, 482 U.S. at 590 (quoting Epperson, 393 U.S. at 109)
(alterations in original).
      119
             515 F.2d 485, 487 (6th Cir. 1975).
      120
             Id. at 496.
      121
             Id. at 489, 491.

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      Fundamentalist opponents of evolution responded with a new tactic suggested

by Daniel’s reasoning: They began dressing up their religious beliefs in scientific-

sounding language and then mandating that schools teach the resulting ‘creation

science’ (or ‘scientific creationism’) as an alternative to evolution. “Fundamentalist

organizations were formed to promote the idea that the Book of Genesis was

supported by scientific data.”122 The creation-science movement then pressed for state

and local school boards to impose new balanced-treatment requirements affording

equal instruction time to creation science whenever the scientific theory of evolution

was taught.123

      But the courts were not fooled by this new ploy: In 1982, the district court in

McLean124 saw creation science for what it was — biblical creationism in a new

guise — and struck down one of the new laws. And five years later, in Edwards,125

the Supreme Court drew on McLean, striking down a similar law (and making the

prohibition against teaching creation science in the public schools a national one).




      122
             McLean, 529 F. Supp. at 1259.
      123
             See Edwards, 482 U.S. at 590-93; McLean, 529 F. Supp. at 1256, 1259.
      124
             529 F. Supp. 1255.
      125
             482 U.S. 578.

                                         46
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      In reviewing Arkansas’ balanced-treatment law, the McLean court evaluated

creation science in light of Scopes, Epperson, and the long history of

fundamentalism’s assault on the scientific theory of evolution.126 Reviewing the

statute’s legislative history and historical context,127 the court found that creation-

science organizations were fundamentalist religious entities that “consider[ed] the

introduction of creation science into the public schools part of their ministry.”128 The

court then explained that creation science rested on a “contrived dualism” that (a)

recognized two and only two possible explanations for life — the scientific theory of

evolution and biblical creationism; (b) treated the two as mutually exclusive such that

“one must either accept the literal interpretation of Genesis or else believe in the

godless system of evolution”; and accordingly (c) viewed any critiques of

evolution — whether in the form of science, pseudo-science, or unadorned religion —

as evidence that necessarily supported biblical creationism.129 The court explained

      126
             McLean, 529 F. Supp. at 1258-64.
      127
             Id.
      128
             Id. at 1260.
      129
              Id. at 1266; see also id. at 1260 (“Creationists have adopted the view of
Fundamentalists generally that there are only two positions with respect to the origins
of the earth and life: belief in the inerrancy of the Genesis story of creation and of a
worldwide flood as fact, or belief in what they call evolution.”).

      As the court explained, however, creation science and evolutionary biology do

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that, because creation science “depends upon a supernatural intervention,” it cannot

be explained by natural causes or proven through empirical investigation, and

therefore is neither testable nor falsifiable.130 So it “is simply not science.”131 For that

reason, Arkansas’ balanced-treatment statute could have no valid secular purpose or

effect, and could serve only to advance religion, violating the First Amendment.132

       Five years later, the Supreme Court in Edwards struck down Louisiana’s

balanced-treatment law for similar reasons. Beginning with Epperson and McLean’s

history of fundamentalist attacks against evolution, the Court painstakingly reviewed

legislative history, focusing both on statements by the statute’s sponsor and most



not address the same issues:

             The emphasis on origins as an aspect of the theory of evolution is
       peculiar to creationist literature. Although the subject of origins of life
       is within the provice of biology, the scientific community does not
       consider origins of life a part of evolutionary theory. The theory of
       evolution assumes the existence of life and is directed to an explanation
       of how life evolved. Evolution does not presuppose the absence of a
       creator or God * * *.

Id. at 1266. Hence, juxtaposing creation science with evolution could not yield
“balanced treatment” even if creation science had in fact been a scientific theory rather
than a religious view.
       130
              Id. at 1267.
       131
              Id.
       132
              Id. at 1264, 1272.

                                            48
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vocal legislative proponents, and on the character of the organizations advocating for

creation science.133 In light of those factors, the Court specifically rejected as

disingenuous the state’s proffered legislative purposes of encouraging academic

freedom and making the science curriculum more comprehensive by “teaching all of

the evidence” respecting ‘origins of life.’134     Among other reasons, the Court

concluded that the challenged statute did not actually serve the legislature’s professed

purposes because (a) state law already allowed schools to teach any scientific theory

(so academic freedom already received full protection);135 and (b) if the legislature

really had intended to make science education more comprehensive, “it would have

encouraged the teaching of all scientific theories about the origins of humankind”

rather than permitting schools to forgo teaching evolution but mandating that schools

that do teach it must also teach creation science — an inherently religious view.136

The Court also considered it especially revealing that, “[o]ut of the many possible

science subjects taught in the public schools, the legislature chose to affect the

      133
             482 U.S. at 586-87, 591-92 & nn. 12-14; see also id. at 599-604 (Powell,
J., concurring).
      134
             Id. at 578.
      135
              Id. at 588 (disbelieving professed purpose because state had not
“‘identified any secular purpose that was not fully served by existing state law’”
(alteration and citation omitted)).
      136
             Id. at 588-89.

                                          49
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teaching of the one scientific theory that historically has been opposed by certain

religious sects.”137 And although presented with experts affidavits (including Pandas-

coauthor Dean Kenyon’s) declaring that creation science is scientific,138 the Court

gave short shrift to the claim that the state was trying to teach competing scientific

theories. The Court held instead that the state had violated the Establishment Clause

by “restructur[ing] the science curriculum to conform with a particular religious

viewpoint.”139

      2.     Intelligent design rose like a phoenix from the ashes of creationism.

      To be sure, it is the twenty-first-century version — a bit more high-tech than

creation science, a bit more sophisticated in disguising overt Biblical references. But

it is virtually identical in argument form, content, and purpose. Intelligent design is,

in other words, just the next chapter in the anti-evolution movement by religious

fundamentalists that began even before Scopes and evolved in response to what

Professor Behe might call the ‘selective pressures’ of the Epperson, McLean, and

Edwards decisions.



      137
             Id. at 593.
      138
             See id. at 612 (Scalia, J., dissenting) (citing experts’ statements that
creation science is collection of scientific data); P418.
      139
             Id. at 593.

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       Intelligent design’s religious nature would be apparent to an objective observer.

The Court will recall that defendants criticized Dr. Forrest for gathering data on the

intelligent-design movement, branding her a “web-surfing” “cyber-stalker.”140 But

any mildly inquisitive member of the Dover community could run a few Google

searches — just as Alan Bonsell, William Buckingham,141 Sheila Harkins,142 and

Cyndi Sneath143 did — and turn up much of the same information that Dr. Forrest did.

And that information clearly shows intelligent design to be creation science’s younger

sibling. Among other things, many of the same people who were active in the 1980s

creation-science movement are involved with intelligent design, including, notably,

Pandas’ authors Dean Kenyon and Percival Davis.144 And just as Kenyon claimed in

an expert affidavit in Edwards that “creation science [is the] sole scientific alternative”

to evolution,145 so too do intelligent-design proponents make that same argument

about their offering.146

       140
              See Defs.’ Br. Supp. Mot. in Limine to Exclude Forrest Testimony at 1.
       141
              29:38-39.
       142
              34:48-49.
       143
              15:91-93.
       144
              FF19.
       145
              P418.
       146
              16:79-81.

                                            51
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      But perhaps the strongest evidence of intelligent design’s creationist pedigree

is the history of Pandas. The book went through many drafts, some before and others

after the Supreme Court’s decision in Edwards147 — which was, of course, the case

in which the Court held that the Constitution forbids teaching creationism as science.

And whereas the pre-Edwards drafts advocate ‘creationism,’ the post-Edwards ones

substitute the new term ‘intelligent design.’       In that regard, the definition of

creationism in pre-Edwards drafts is identical to that of intelligent design in the post-

Edwards versions: “Creationism [or intelligent design] means that various forms of

life began abruptly through an intelligent agency with their distinctive features already

intact — fish with fins and scales, birds with feathers, beaks, and wings, etc.”148 And

where cognates of the word creationism appeared roughly 150 times in pre-Edwards

drafts, they were systematically replaced with “intelligent design” after the Supreme

Court’s decision — again without any change in content.149 This evidence alone

compels a finding of an Establishment Clause violation under Edwards. For while an

objective observer might not know the whole drafting history of Pandas, at the very

least she would readily apprehend that the published version’s content is creationist


      147
             FF22.
      148
             P11, at 99-100.
      149
             10:119-22.

                                           52
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to the core, as Bonsell, Nilsen, and the science teachers all did.150 And the objective

observer would also conclude from the fact that Pandas posits a master intellect that

the intelligent designer is God.

      Furthermore, the arguments for intelligent design are virtually identical to those

undergirding creation science. Demonstrative charts introduced through Dr. Forrest

show parallel arguments relating to the rejection of naturalism; evolution’s threat to

culture and society; “abrupt appearance” implying divine creation; exploiting the same

alleged gaps in the fossil record; the alleged inability of science to explain complex

biological information like DNA; and the theme that proponents of each version of

creationism merely aim to teach a scientific alternative to evolution, to show its

“strengths and weaknesses,” and to alert students to a supposed “controversy” in the

scientific community.151

      Finally, as with creation science, the intelligent-design movement is supported

by many people who have expressed patently sectarian reasons for promoting ‘design’

and at the same time have also attempted to mask their true intentions with a

putatively scientific rationale. For instance, Pandas is published by the FTE, which

has an overtly evangelical-Christian mission and has stated in published newsletters


      150
             See, e.g., 01/03/2005 Nilsen Dep. 100-01; 33:54-56 (Bonsell); FF21.
      151
             10:140-48 (Forrest).

                                          53
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and fundraising pieces that the book is designed to negate the “deep hostility to

traditional Christian views and values” allegedly found in public-school curricula.152

And intelligent-design proponents affiliated with the Discovery Institute have also

made known their true evangelical-Christian motivations.153

      Equally dramatic proof of intelligent design’s religious nature and aspirations

is the Wedge Document, which, like much intelligent-design writing, can be found on

the Internet. The Wedge Document represents, from an institutional standpoint, the

intelligent-design movement’s goals and objectives, much as writings from the

Institute for Creation Research did for the earlier creation-science movement,154 as

discussed in McLean.155      (Virtually all the leaders of the intelligent-design

movement — including defendants’ experts Behe and Minnich — are affiliated with

the Discovery Institute.156) The Wedge Document states in its “Five Year Strategic

Plan Summary” that the intelligent-design movement’s goal is to replace science as




      152
             FF18.
      153
             FF48.
      154
             FF9; 11:24-25, 46 (Forrest).
      155
             See 529 F. Supp. at 1255.
      156
             FF9; 11:46-47 (Forrest).

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currently practiced with “theistic and Christian science.”157         The movement’s

“Governing Goals” as stated in the Wedge Document are to “defeat scientific

materialism and its destructive moral, cultural, and political legacies,” and “to replace

materialistic explanations with the theistic understanding that nature and human

beings are created by God.”158 But those goals are not scientific; they are cultural and

religious. And similar language appears throughout the document.159 Like the

creation-science movement before it, which attempted in a more open and forthright

manner to validate Biblically-based creationism by distorting scientific data and

concepts, intelligent design aspires to change the ground rules of science to make

room for religion — specifically, beliefs consonant with a particular version of

Christianity that even many Christians do not share.160

      More generally, intelligent design’s pseudo-scientific arguments are practically

identical to those of the creation-science movement two decades earlier — with the

one significant difference that the words God, creationism, and Genesis have been

systematically purged, replaced by an unnamed ‘designer.’ But intelligent design



      157
             FF10; P140, at 6.
      158
             Id.
      159
             See P140; FF11; 11:26-48 (Forrest).
      160
             5:111-12.

                                           55
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retains the same essential characteristic that convinced the Supreme Court to hold that

creation science cannot be considered real science and that it is in fact a religious

proposition appealing to a higher, supernatural power. And under Edwards, that one

similarity would be enough to mandate holding that intelligent design cannot

constitutionally be taught in public-school science classes, even if none of the other

parallels to creation science existed.161

      2.     At the same time that intelligent design was getting its sea legs, religion-

based opposition to the scientific theory of evolution also began taking another form:

disclaimers casting doubt on evolution’s validity so that students would credit

religious alternatives. But the Fifth Circuit rejected this new ploy in Freiler, as did

the district court in Selman.

      In Freiler, the challenged disclaimer informed students that evolution was

“presented to inform students of the scientific concept and not intended to influence

or dissuade the Biblical version of Creation or any other concept”; and it urged them

to examine alternatives to evolution.162 The Fifth Circuit invalidated the policy,

concluding that “[a] teacher’s reading of a disclaimer that not only disavows



      161
           See Edwards, 482 U.S. at 591; id. at 599 (Powell, J., concurring);
McLean, 529 F. Supp. at 1265; Malnak, 440 F. Supp. at 1322.
      162
             185 F.3d at 341.

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endorsement of educational materials but also juxtaposes that disavowal with an

urging to contemplate alternative religious concepts implies School Board approval

of religious principles.”163

      The challenged disclaimer in Selman, meanwhile, took the form of a textbook

sticker announcing that evolution is “a theory, not a fact,” and directing students to

approach the topic with an “open mind” and consider it “critically.”164 The court there

found that “whether evolution is referenced as a theory or a fact is * * * a loaded issue

with religious undertones” such that, in choosing to describe evolution as a theory, the

school board “appear[ed] to have sided with the proponents of religious theories of

origin in violation of the Establishment Clause.”165

             2.     Considered in light of this history, the challenged policy
                    constitutes an endorsement of a religious view.

      A reasonable observer viewing the challenged policy in light of the

longstanding tug-of-war between religiously motivated opponents of evolution, on the

one hand, and the federal courts, on the other, could not help but conclude that the

challenged policy here is all of a piece with earlier creationist efforts.



      163
             Id. at 348.
      164
             390 F. Supp. 2d at 1292.
      165
             Id. at 1307.

                                           57
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       First, the Board’s disclaimer’s declaration that evolution “is a theory * * * not

a fact” has the cultural meaning that the Selman court explained: “[W]hether evolution

is referenced as a theory or a fact is * * * a loaded issue with religious undertones,”

reflecting “a lengthy debate between advocates of evolution and proponents of

religious theories of origin.”166 It is “one of the latest strategies to dilute evolution

instruction employed by anti-evolutionsists with religious motivations.”167 As the

Third Circuit held in Freethought, “‘the history and ubiquity’ of a practice is relevant

because it provides part of the context in which a reasonable observer evaluates

whether a challenged governmental practice conveys a message of endorsement of




       166
              Selman, 390 F. Supp. 2d at 1307-08 (citing Edwards, 482 U.S. at 624
(Scalia, J., dissenting) (noting that balanced-treatment-act’s sponsor opposed
evolution being taught as fact because it would communicate to students that “science
has proved their religious beliefs false”); Peloza v. Capistrano Unified Sch. Dist., 37
F.3d 517, 520 9th Cir. 1994) (rejecting Christian teacher’s claim that “evolutionism”
is a religion and that school district therefore violated Establishment Clause by
requiring him to teach evolution as fact rather than theory); Mozert v. Hawkins County
Bd. of Educ., 827 F.2d 1058, 1062 (6th Cir. 1987) (witness in Free Exercise case
brought by born-again Christians complained that teachers presented evolution as
fact); Freiler v. Tangipahoa Parish Bd. of Educ., 975 F. Supp. 819, 824 (E.D. La.
1997), aff’d, 185 F.3d 337 (5th Cir. 1999) (noting school-board-members’ concern
with teaching evolution as fact because many students in district believed in biblical
view of creation)).
       167
              Selman, 390 F. Supp. 2d at 1308 (citing law-review articles explaining
that fact).

                                           58
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religion.”168 A reasonable observer would thus know the social meaning of the theory-

not-fact circumlocution and would “perceive the School Board to be aligning itself

with proponents of religious theories of origin,” thus “communicat[ing] to those who

endorse evolution that they are political outsiders, while * * * communicat[ing] to the

Christian fundamentalists and creationists who pushed for a disclaimer that they are

political insiders.”169 But, of course, “‘[t]he Establishment Clause, at the very least,

prohibits government from appearing to take a position on questions of religious

belief,’ and this is exactly what the School Board appears to have done.”170

      Second, the Board singles out the scientific theory of evolution, targeting it and

nothing else in the curriculum as a “theory” with “[g]aps,” “problems,” and

inadequate empirical support.171 In singling out “the one scientific theory that


      168
             Freethought, 334 F.3d at 259 (quoting Black Horse Pike, 84 F.3d at
1486).
      169
            Selman, 390 F. Supp. 2d at 1308. That message would only be bolstered
by the reasonable observer’s knowledge that Buckingham first used the language
when publicly advocating for creationism. See supra pages 18-19.
      170
             Id. at 1307 (quoting Allegheny, 492 U.S. at 593-94) (alteration in
original).
      171
             The district makes the truly bizarre argument that “it is of no
constitutional significance that the Darwinian theory of evolution is the only theory
of evolution in which ‘gaps/problems’ will be presented because it is the only such
theory that will be taught.” Br. at 14. The point, of course, is that the district singles
out evolution, not that it singles out one person’s exposition of evolution.

                                           59
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historically has been opposed by certain religious sects,”172 the Board sent the message

that it “believes there is some problem peculiar to evolution”;173 and “[i]n light of the

historical opposition to evolution by Christian fundamentalists and creationists[,] * * *

the informed, reasonable observer would infer the School Board’s problem with

evolution to be that evolution does not acknowledge a creator.”174

      Finally, and most straightforwardly, “[s]ince [intelligent design] is not science,

the conclusion is inescapable that the only real effect of [the District’s policy] is the

advancement of religion.”175

      F.     The Civil Divisiveness Resulting From The Challenged Policy
             Constitutes Strong Evidence That The Community Perceives
             Defendants To Have Taken Sides In A Religious Dispute.

      There is another key component to the endorsement analysis as well: This

Court should consider the divisive effect of defendants having placed the state’s

power and prestige behind a particular religious view.

      “[O]ne of the major concerns that prompted adoption of the Religion Clauses”

was that “[t]he Framers and the citizens of their time intended * * * to guard against


      172
             Edwards, 482 U.S. at 522 n.7.
      173
             Selman, 390 F. Supp. 2d at 1309.
      174
             Id.
      175
             McLean, 529 F. Supp. at 1272.

                                           60
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the civil divisiveness that follows when the Government weighs in on one side of a

religious debate.”176 Simply stated, the Establishment Clause was designed “to

remove debate over this kind of issue from governmental supervision or control” so

that it would no longer be a source of political or civil strife.177 But the Board’s

statements and actions here have injected just such religiously based strife into the

Dover community.

             1.     The Board’s conduct has engendered religiously based
                    divisions in the community.

      There can be no doubt, based on the evidence adduced at trial, that Dover is

sharply divided over the Board’s religiously motivated decision to disparage evolution

and incorporate intelligent-design creationism into the biology curriculum.

      First of all, the Board’s proposal to implement the curriculum change sparked

immediate, heated public debate at the June 2004 board meetings. Board members

and others (including Board member William Buckingham’s wife) advocated for the

policy in expressly religious terms.178 From their position of authority, Board

      176
              McCreary, 125 S. Ct. at 2742; see also, e.g., Van Orden v. Perry, 125 S.
Ct. 2854, 2868 (2005) (Breyer, J., concurring in judgment) (controlling concurring
opinion explaining that Religion Clauses “seek to avoid that divisiveness based upon
religion that promotes social conflict, sapping the strength of government and religion
alike”).
      177
             Santa Fe, 530 U.S. at 310.
      178
             FF170-77.

                                          61
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members attacked citizens who dared to speak out against the policy.179 They

disparaged a former-student, Max Pell, declaring that he had been “brainwashed” by

his biology studies into forsaking Christianity (or their brand of it, anyway).180 They

drove three of their own number — Casey Brown, Jeff Brown, and Angie Yingling —

to resign their posts, with Ms. Brown explaining in her resignation speech that the

Board majority had marginalized those who didn’t share its religious beliefs, with the

result that she could no longer do her job as a duly-elected representative.181 The

Board branded the three who left as atheists.182 And the Board members, in their

official capacity, cast themselves as standing up for Christ.183 In other words, the

Board told nonadherents in the strongest terms possible “‘that they are outsiders, not

full members of the political community.’”184 And in the end, the Board implemented

the curriculum change despite repeated warnings that the District would face costly


      179
             FF243-44.
      180
             3:137-38 (B. Callahan).
      181
             FF243-44. As Ms. Brown put it, “holding a certain religious belief [was]
of paramount importance” to the Board, and hence anyone who did not hold that belief
could “no longer effectively function as a member of this board * * * [or] properly
represent the members of this community.” 7:93.
      182
             FF261; 7:94-95; 15:95-97.
      183
             FF176, 189-90.
      184
             Santa Fe, 530 U.S. at 309 (quoting Lynch, 465 U.S. at 688).

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Establishment Clause litigation if the Board persisted in its effort to enact its

creationist agenda.

      Outside official board meetings, defendants succeeded in turning neighbor

against neighbor: As plaintiff Joel Lieb testified, with an inadvertent homage to the

intelligent-design movement’s charter document, “Well, it’s driven a wedge where

there hasn’t been a wedge before. People are afraid to talk to people for fear, and

that’s happened to me. They’re afraid to talk to me because I’m on the wrong side of

the fence.”185 Similarly, plaintiff Fred Callahan testified that “there have been letters

written about the plaintiffs. We’ve been called atheists, which we’re not. * * * We’re

said to be intolerant of their views.”186 Plaintiff Steven Stough testified that his

daughter’s opposition to the District’s policy would mark her as “no longer part of the

accepted school community.”187 Plaintiff Brian Rehm has found that some people in

the community disparage him, calling him an atheist and a whole lot more, because

he is a plaintiff in this action.188 Plaintiff Christy Rehm (Brian’s wife) believes that

the Rehms have been cast as outsiders based on their belief that religion should not


      185
             17:146-47.
      186
             8:115-16.
      187
             16:30.
      188
             4:93-94.

                                           63
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be taught in public-school science classes.189 And although Casey Brown had

previously considered Board-member Alan Bonsell a family friend, Bonsell told her

that, because of her political judgment that the Board should not inject religion into

the science curriculum, she would be “going to hell.”190

      Indeed, the entire community became embroiled in the controversy. The 225

letters to the editor and 62 editorials from the York Daily Record and York Dispatch

that plaintiffs offered at trial191 show that, in an era when political apathy abounds,

hundreds of people in this small community were sufficiently worked up over this

issue to take the extraordinary step of putting pen to paper and getting their views

published for all to see. And even more significantly, perhaps, the letters demonstrate

that the perception of unconstitutional endorsement is not one-sided. Rather, people

on both sides of the issue recognize it for what it is: a pitched battle over whether the

Dover public schools should be teaching religion.192

      And finally, the Board’s insistence on advancing a religious view in science

class, and its recalcitrance in the face of community opposition and repeated warnings


      189
             6:77-78.
      190
             7:95.
      191
             See P671-72, 674-75.
      192
             See infra Section I.F.2.

                                           64
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about the illegality of that conduct, led eleven courageous citizens to stand up for

themselves, their children, and their community by filing this lawsuit, even knowing

that some of their neighbors would villify them for doing so. If there is a surer

measure of the community’s perception of, and outrage over, a school district’s

unconstitutional conduct, plaintiffs cannot think of one.193

      What is more, the divisiveness originating in Dover has spread far and wide,

fueling the culture wars. Plaintiffs need not remind the Court of the attention that the

trial has drawn both nationally and internationally. But we emphasize that the media’s

interest in this case is not merely a prurient one: It reflects a deeper awareness of the

religiously based political conflict that the Dover Area School Board has engendered.

Without belaboring the point, a few examples just since the trial concluded reflect this

sad state of affairs: Columnist Charles Krauthammer described putting intelligent

design into the biology curriculum as “mak[ing] evolution the enemy of God.”194

Columnist George Will warned that, as “zealots try to compel public education to

infuse theism into scientific education,” the Republican party’s governing coalition


      193
            Cf. Van Orden, 125 S. Ct. at 2870-71 (Breyer, J., concurring) (looking
to whether Ten Commandments display drew legal challenges or other citizen
complaints as strong indication whether it is perceived as official endorsement of
religion).
      194
            Charles Krauthammer, Op-Ed, Phony Theory, False Conflict: ‘Intelligent
Design’ Foolishly Pits Evolution Against Faith, WASH. POST, Nov. 18, 2005, at A23.

                                           65
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is in danger of “disintegrat[ing],” leaving the country rudderless.195 But most

tellingly, and most disturbingly in a time when the United States confronts terrorist

threats from religious extremists abroad and mass death and destruction from

hurricanes at home, televangelist Pat Robertson thought it entirely appropriate to fan

the flames of religious strife by warning Dover residents that they shouldn’t bother

asking for God’s help if disaster should strike their community because “you just

voted God out of your city.”196

      In sum, this is not a situation in which milquetoasty official action went

unnoticed, unrecognized as in any sense religious, and therefore unchallenged for




      195
            George Will, Editorial, What next for conservatives, TOWNHALL.COM,
Nov. 17, 2005, http://www.townhall.com/opinion/columns/georgewill/2005/11/17/
175897.html.
      196
            The 700 Club (CBN television broadcast Nov. 10, 2005), available at
http://www.cbn.com/700club/Guests/Bios/Kyle_Maynard111005.asp (transcript on
file with Americans United for Separation of Church and State). Robertson’s full
commentary was:

      I’d like to say to the good citizens of Dover, uh, if there is a disaster in
      your area, don’t turn to God. You just rejected him from your city. And
      don’t wonder why he hasn’t helped you when the problems begin, if they
      begin, and I’m not saying they will. But if they do, you just remember
      you just voted God out of your city. And if that’s the case, then don’t
      ask for his help because he might not be there.

Id.

                                          66
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years.197 Nor is it one in which a few hypersensitive individuals got worked up over

what their fellow citizens would recognize to be either mere private religious

expression198 or else religiously neutral governmental conduct.199 It is one in which

the community knew, anyone who endured the six weeks in Harrisburg’s courtroom

number 2 now knows, and an objective observer cannot help but know, that

defendants ran roughshod over the Establishment Clause and the citizens of Dover in

order to get their own brand of religion taught in the public schools.

             2.    The letters to the editor and editorials are admissible and
                   highly probative of that divisiveness.

      Although defendants have strenuously objected to plaintiffs’ introduction of the

letters to the editor and editorials from the York Daily Record and the York Dispatch

addressing the curriculum controversy, those materials are relevant and highly

probative to show that defendants’ conduct endorses religion because they reveal that


      197
           Cf. Van Orden, 125 S. Ct. at 2870-71 (Breyer, J., concurring) (fact that
Ten Commandments monument did not draw legal challenge or other complaint in 40
years was evidence that it did not communicate message of official religious
endorsement).
      198
             Tenafly, 309 F.3d at 177 (“there is a vital difference between purely
private religiously motivated conduct and conduct initiated or sponsored by
government”).
      199
             Cf. Pinette, 515 U.S. at 779 (O’Connor, J., concurring); Books v. Elkhart
County, Ind., 401 F.3d 857, 867 (7th Cir. 2005) (endorsement inquiry focuses on
objective observer, not hypersensitive one).

                                         67
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the entire community has all along understood the controversy to concern whether a

religious view should be taught as science in the Dover public schools.

      As explained above, the Supreme Court held in Santa Fe that a public school

district’s conduct touching on religion should be evaluated under the endorsement test

from the standpoint of how the “listening audience” would view it: If the members

of the listening audience would perceive the district’s conduct as endorsing religion

or a particular religious view, then the conduct violates the Establishment Clause.200

      To be sure, “the endorsement inquiry is not about the perceptions of particular

individuals”; its “concern is with the political community writ large.”201 And hence,

plaintiffs do not argue that any particular letter or editorial, or the views expressed

therein, can or should stand in for this Court’s consideration of the curriculum change

from the standpoint of a reasonable observer. But “our Establishment Clause

jurisprudence must seek to identify the point at which the government becomes

responsible, whether due to favoritism toward or disregard for the evident effect of


      200
             530 U.S. at 308 (“In this context the members of the listening audience
must perceive the pregame message as a public expression of the views of the majority
of the student body delivered with the approval of the school administration. * * *
Regardless of the listener’s support for, or objection to, the message, an objective
Santa Fe High School student will unquestionably perceive the inevitable pregame
prayer as stamped with her school’s seal of approval.”); see supra Sections I.A.1, I.B.
      201
            Pinette, 515 U.S. at 779 (O’Connor, J., concurring in part and concurring
in judgment).

                                          68
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religious speech, for the injection of religion into the political life of the citizenry,”202

and hence it looks to the hypothetical reasonable observer as a “‘personification of a

community ideal of reasonable behavior, determined by the collective social

judgment.’”203

       The 225 letters to the editor and 62 editorials that plaintiffs have offered

constitute what counsel believes to be the entire set of such materials published in the

principal newspapers serving the Dover community during the period from June 1,

2004, though September 1, 2005; in other words, from the first board meetings where

the proposal to change the curriculum was announced through the run up to the trial.

In letter after letter and editorial after editorial, community members recognize that

intelligent design is an inherently religious concept; that the decision whether to

incorporate it into the high-school biology curriculum is nothing other than a decision

whether to teach that religious concept; and hence that the curriculum change has the

effect of placing the government’s stamp of approval on the Board’s preferred

religious view.204 They thus are not only relevant to, but highly probative of, the

Dover community’s collective social judgment about the curriculum change because

       202
              Id.
       203
           Id. at 780 (quoting W. PAGE KEETON ET AL., PROSSER AND KEETON ON
TORTS 175 (5th ed. 1984)) (brackets omitted).
       204
              See P671-72, 674-75.

                                             69
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they demonstrate that, “[r]egardless of the listener’s support for, or objection to,” the

curriculum change, the community — and hence the objective observer who

personifies it — cannot help but see that the policy endorses religion.

      That conclusion is also entirely in keeping with the Supreme Court’s decision

in Epperson. In that case, the Supreme Cout pointed to letters to the editor in a local

newspaper as support for its conclusion that “fundamentalist sectarian conviction was

and is” the reason that Arkansas enacted its statutory prohibition against teaching

evolution in public schools.205 The Court quoted from three letters published in the

Arkansas Gazette to show that the public “fear[ed] that teaching of evolution would

be ‘subversive of Christianity,’ and that it would cause school children ‘to disrespect

the Bible.’”206


      205
             393 U.S. at 108.
      206
              Id. at 108 n.16. The Court treated the letters as evidence not only of the
community’s view that evolutionary theory should be banned because of its perceived
religious implications, but also of the public pressures driving the Arkansas legislature
to adopt the measure. And hence, the Court viewed them as, among other things,
shedding light on the legislative purpose underlying the anti-evolution statute.
Although in Modrovich (a pre-McCreary decision) the Third Circuit departed from
Epperson by treating as irrelevant to the purpose inquiry some letters from citizens to
county officials (on the grounds that (a) the letters were not authored by official
decision-makers and so might not reflect their views, and (b) most of the letters were
received after the county made its policy decision) (see 385 F.3d at 412 & n.4),
plaintiffs here do not offer the letters as purpose evidence or ask the Court to find that
they prove defendants’ religious purpose for changing the curriculum. Instead,
plaintiffs offer the evidence under the endorsement test and Lemon’s effect prong.

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      Taken all together, the letters to the editor and editorials in the local York

papers consitute substantial additional evidence that the essential religious nature of

defendants’ conduct was lost on no one: Despite the Board’s sometime protestations

that it was acting in a religiously neutral fashion, the community collectively — and

correctly — perceives the policy as favoring a particular religious view. And

defendants’ advocacy for and adoption and implementation of that policy have

produced religiously based divisiveness within the Dover community, expressed,

among other places, in the citizens’ public reaction in print to the Board’s actions.

II.   DEFENDANTS’           PRIMARY        PURPOSE        WAS      TO     ADVANCE
      RELIGION.

      Although defendants’ conduct here plainly conveys a strong message of

endorsement of the Board members’ particular religious view (and hence nothing

more need be said to strike down defendants’ conduct as unconstitutional), the best

practice in this Circuit, for the reasons explained above,207 is for this Court also to

evaluate the challenged conduct separately under the Lemon test.208 And, of course,

defendants concede that the Lemon test applies.209 Accordingly, this Court should


      207
             See supra I.A.1.
      208
            See Child Evangelism, 386 F.3d at 530-35; Modrovich, 385 F.3d at 406;
Freethought, 334 F.3d at 261.
      209
             See Defs.’ Pre-Trial Mem. at 24.

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consider whether (a) the district’s primary purpose was to advance religion210 or (b)

the policy has the primary effect of promoting religion.211

      Following convention, we start with the purpose inquiry, for which the central

issue is whether the district has shown favoritism toward religion generally or any set

of religious beliefs in particular:

          The touchstone for our analysis is the principle that the “First
      Amendment mandates governmental neutrality between religion and


      210
              Although in their summary-judgment briefs defendants steadfastly
maintained that governmental conduct fails the purpose prong only if its sole purpose
is religious (see Defs.’ Br. Supp. Mot. Summ. J. at 11; Defs.’ Reply Supp. Mot.
Summ. J. at 41-44), they have since acknowledged that the operative legal standard
is, as the Supreme Court explained in McCreary, whether the policy’s primary
purpose is religious or secular (see Defs.’ Pre-trial Mem. at 24-25).
      211
            See McCreary, 125 S. Ct. at 2732-33; Edwards, 482 U.S. at 582-83. As
previously explained, plaintiffs are not claiming excessive entanglement.

       Because the Lemon test is disjunctive, the policy must be struck down if it fails
either the purpose prong or the effect prong. Edwards, 482 U.S. at 582-83; Freiler,
185 F.3d at 343. Thus, for example, the Supreme Court struck down the religious
display in McCreary and the balanced-treatment statute in Edwards under the purpose
prong without reaching the question whether the challenged conduct also had an
unconstitutional effect. McCreary, 125 S. Ct. at 2745; Edwards, 482 U.S. at 593-94.
And the courts in Freiler and Selman struck down the anti-evolution disclaimers at
issue in those cases under the effect prong and as governmental endorsement of
religion (see Freiler, 185 F.3d at 346, 348; Selman, 390 F. Supp. 2d at 1305-06) even
though, after applying an incorrect interpretation of Wallace v. Jaffree (compare
Freiler, 185 F.3d at 344-45, and Selman, 390 F. Supp. 2d at 1300-01, with McCreary,
125 S. Ct. at 2735-36), they had erroneously concluded that the disclaimers did not
violate the purpose prong (see Freiler, 185 F.3d at 344-46; Selman, 390 F. Supp. 2d
at 1305).

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      religion, and between religion and nonreligion.” When the government
      acts with the ostensible and predominant purpose of advancing religion,
      it violates that central Establishment Clause value of official religious
      neutrality, there being no neutrality when the government’s ostensible
      object is to take sides.212

The purpose inquiry involves considering the policy language, “enlightened by its

context and contemporaneous legislative history”213 — including, in this case, the

broader context of historical and ongoing, religiously driven attempts to advance

creationism and denigrate evolution.214

      The evidence here is overwhelming that the District’s purpose was to advance

creationism — an inherently religious view — both by introducing it directly under




      212
             McCreary, 125 S. Ct. at 2733 (quoting Epperson, 393 U.S. at 104).
      213
             Selman, 390 F. Supp. 2d at 1300; see Edwards, 482 U.S. at 594-95 (in
addition to “[t]he plain meaning of the [enactment’s] words, enlightened by their
context and the contemporaneous legislative history,” Supreme Court also looks for
legislative purposes in “the historical context of the [enactment], and the specific
sequence of events leading to [its] passage”).
      214
              See Edwards, 482 U.S. at 590-92; Epperson, 393 U.S. at 98-101;
McLean, 529 F. Supp. at 1259-64 (looking to history of Christian Fundamentalism
nationally and to Arkansas’ “long history of official opposition to evolution which is
motivated by adherence to Fundamentalist beliefs,” and holding that, “[i]n
determining the legislative purpose of a statute, courts may consider evidence of the
historical context of the Act, the specific sequence of events leading up to passage of
the Act, departures from normal procedural sequences, substantive departures from
the normal, and contemporaneous statements of the legislative sponsor.” (citations
omitted)).

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the label ‘intelligent design,’ and by disparaging the scientific theory of evolution so

that creationism would gain credence by default as the only apparent alternative.

      A.     The Purpose Inquiry Requires Consideration Of The Legislative
             History And Historical Context For The Board’s Actions.

      During closing arguments, defendants argued that this Court must ignore the

Board members’ religious statements and plaintiffs’ other purpose evidence, and that

this Court must instead confine itself to gleaning purpose solely from the text of the

statement read to Dover ninth graders. We assume, however, that defendants meant

only to advance the same positions they did in their pre-trial filings — namely, that

(a) this Court must first look for the Board’s purpose in the plain text of the

challenged policy and may consider other indicia of purpose only if the policy is

ambiguous as to purpose; and (b) individual Board members’ statements are irrelevant

as a matter of law and cannot be considered as part of the legislative history because

they are not statements by the full board in its collective, corporate capacity. Not only

do those contentions rest on a fundamental misunderstanding of Board of Education

v. Mergens215 — the case on which defendants premise both claims — but they are

utterly irreconcilable with subsequent Supreme Court precedent.




      215
             496 U.S. 226 (1990).

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      1.       The claim that this Court must blind itself to the clear and unequivocal

legislative history here, and may look only at the disclaimer’s text unless the

disclaimer is ambiguous, reduces the Establishment Clause’s purpose inquiry to a run-

of-the-mine exercise in statutory interpretation. That view is not only unsupported by

any legal precedent, but also utterly inconsistent with Lemon and the principles that

it embodies.

      At the most superficial level, defendants’ ‘look at the text alone’ approach is

on its face inapposite because ‘intelligent design’ is not defined in the District’s

policy. Thus, even if this Court were limited in the first instance to the disclaimer’s

language (which it is not), statutory-interpretation canons would require looking to the

challenged policy’s legislative history and historical context in order to ascertain what

the term ‘intelligent design’ actually means.        For that inquiry would be the

prerequisite to determining what the disclaimer as a whole means, and therefore what

it is supposed to accomplish.216

      2.       But there is also a far more important reason why defendants’ attempt to

curtail this Court’s inquiry into legislative history must fail: Unlike ordinary


      216
              See, e.g., Edwards, 482 U.S. at 591-92 (ascertaining meaning of statutory
term ‘creation science’ by looking to legislative history showing that “the term
‘creation science,’ as contemplated by the legislature that adopted this Act, embodies
the religious belief that a supernatural creator was responsible for the creation of
humankind”).

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limitations on governmental power, which circumscribe conduct but do not attach any

liability based upon the reasons that the government chose to act, the Establishment

Clause makes improper purpose an independent constitutional violation.217 Because

a governmental entity like the Dover Area School District violates the Establishment

Clause by adopting a policy with the primary purpose of advancing religion even if

it might lawfully have implemented an identically worded policy had it done so for

valid secular reasons, legislative history is always relevant and appropriate to consider

under the purpose prong.218 By attempting to limit this Court’s purpose analysis to the

disclaimer’s bare text, defendants strip the purpose prong of all meaning and

consequence.

      Indeed, in McCreary the Supreme Court declined to adopt the approach that

defendants here advance, and instead made clear that courts in Establishment Clause

cases today should look to legislative history and historical context to determine

purpose just as they always have. In that regard, the United States argued as an

amicus curiae in McCreary that, at least in religious-display cases, the Supreme Court

should eliminate the inquiry into decision-makers’ actual purpose under Lemon: The


      217
             See, e.g., Edwards, 482 U.S. at 582-83; Freiler, 185 F.3d at 343.
      218
            That is so even though, unlike here, the legislative history in some cases
may not be clear and so may not provide genuine insights. Cf. Mergens, 496 U.S. at
238-39 (plurality op.).

                                           76
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United States advocated that the Court should instead limit the purpose inquiry to “the

objectively discernible purpose,” defined as, “whether the display itself * * *

expresses favoritism for or an endorsement of religion,” and should not consider the

“subjective motivation” of those who erected the display.219 Thus, the United States,

like defendants here, sought to persuade the Court to eviscerate the purpose prong and

focus single-mindedly on the final product of the governmental conduct — i.e., its

effect.

          The Supreme Court refused that invitation. Instead, it reaffirmed that Lemon’s

purpose inquiry has independent significance and that it “takes account of the

traditional external signs that show up in the text, legislative history, and

implementation of” an “official act.”220 The Supreme Court’s decision leaves no room

for doubt that the purpose that is relevant to the Establishment Clause is the actual

purpose behind official action — the real story of how it came to pass, not some

hypothetical explanation for it that a litigant might cook up after the fact. Thus, the

Court reaffirmed the approach to uncovering purpose that it took in Epperson, for

example, where it concluded from the legislative history and social context of the


          219
           Brief of United States as Amicus Curiae at 6, 26, McCreary County, Ky.
v. ACLU, 125 S. Ct. 2722 (2005) (No. 03-1693).
          220
             McCreary, 125 S. Ct. at 2734 (quoting Santa Fe, 530 U.S. at 308)
(internal quotation marks omitted).

                                            77
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challenged anti-evolution statute that “fundamentalist sectarian conviction was and

is the law’s reason for existence”221 — a conclusion that the Court did not hesitate to

reach even though the statute itself did not say a single word about religious

fundamentalism.

      3.     For essentially the same reasons, defendants also fail in their fallback

position of trying to exclude individual Board members’ statements from the

legislative history on the ground that they are not pronouncements by the full Board.

Notwithstanding Justice O’Connor’s discussion in Mergens of Congress’s legislative

purpose for passing the Equal Access Act, on the one hand, and the “‘possibly

religious motives’” of some of the Act’s individual supporters, on the other,222 the

Supreme Court has consistently held not only that legislative history can and must be

considered in ascertaining legislative purpose under Lemon, but also that statements

by a measure’s sponsors and chief proponents are strong indicia of such purpose.223

      221
             Epperson, 393 U.S. at 108.
      222
             Mergens, 496 U.S. at 249 (plurality op.) (emphasis omitted). Because
that portion of Justice O’Connor’s opinion in Mergens did not garner a majority, it
obviously lacks precedential value. See, e.g., Romano v. Oklahoma, 512 U.S. 1, 8-9
(1994); Marks v. United States, 430 U.S. 188, 193-94 (1977).
      223
              Indeed, in McCreary the Supreme Court explained the essence of the
Mergens plurality’s distinction between individual motives and legislative purpose
when it stated that, where “savvy officials ha[ve] disguised their religious intent so
cleverly that the objective observer * * * cannot see it, then without something more
the government does not make a divisive announcement that in itself amounts to

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      Most recently, for example, the Supreme Court reaffirmed in McCreary that the

purpose inquiry looks to “the ‘‘text, legislative history, and implementation of’’” an

“official act.”224 The Court did not say that the purpose inquiry looks solely to the



taking religious sides.” McCreary, 125 S. Ct. at 2735. But nothing in Mergens or any
other Supreme Court decision casts the slightest doubt on the longstanding and well-
settled rules concerning the Establishment Clause’s required purpose inquiry; and
nothing lends any credence to the claim that public statements of purpose by a
policy’s sponsor and other legislative proponents must — or even may — be ignored.
See, e.g., McCreary, 125 S. Ct. at 2734 (although courts do not engage in
“psychoanalysis of a drafter’s heart of hearts,” they routinely and quite properly look
to individual legislators’ public statements to determine legislative purpose).

        What is more, the other case on which defendants principally relied in their pre-
trial submissions — Bown v. Gwinnett County School District, 112 F.3d 1464 (11th
Cir. 1997) — interprets Mergens rather differently than defendants do, explaining that
the Mergens plurality’s attempt to distinguish individual motives from legislative
purpose “provides helpful guidance for a case * * * in which the legislative history is
conflicting.” Id. at 1471 (emphasis added). Here, as we argue below, the legislative
history is all of a piece: Everyone on the Board understood the dispute to be over
creationism, whatever label was being used, and Bonsell, Buckingham, and Geesey
expressly defended it as such. Additionally, Harkins had to be aware that intelligent
design is a form of creationism based on her review of the chart entitled “Views on
the Origin of the Universe and Life.” See P149. But even if that were not the case,
defendants would not be entitled to have the Court ignore their statements in board
meetings and to the media; conflicts among board members would go to the weight
of plaintiffs’ purpose evidence and would not be a basis for excluding it altogether.
Cf. Consumer Prod. Safety Comm’n v. GTE Sylvania, Inc., 447 U.S. 102, 118 (1980)
(to ascertain legislative intent in ordinary statutory-interpretation context, Supreme
Court treated “isolated remark” by legislator as “not * * * entitled to much weight”
in light of countervailing legislative history, but did not suggest that remark could
have been excluded or should have been ignored).
      224
             McCreary, 125 S. Ct. at 2734 (quoting Santa Fe, 530 U.S. at 308).

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text, or even that it looks to other factors only if the text is ambiguous. What is more,

the Court specifically took guidance from its earlier decision in Edwards,225 in which

it had properly “relied on a statute’s text and the detailed public comments of its

sponsors, when we sought the purpose of a state law requiring creationism to be

taught alongside evolution.”226 And in Wallace, the Supreme Court likewise treated

as both relevant and highly probative to the purpose inquiry the statements made by

the challenged moment-of-silence statute’s sponsor during legislative debate over the

bill as well as during testimony in the district-court proceeding.227 The Court took

seriously the bill’s sponsor’s testimony that he had been seeking to get prayer into the

public schools and “did not have no other purpose in mind” when he proposed the

bill;228 the Court did not brush that testimony aside, as defendants here would have

this Court do, just because it came out of the mouth of a single legislator instead of

being written into the statute.229 Indeed, to adopt defendants’ position not only would



      225
             482 U.S. at 586-88.
      226
              McCreary, 125 S. Ct. at 2734 (emphasis added); see Edwards, 482 U.S.
at 585, 587 (evaluating “governmental intention” by looking at “the purpose of the
legislative sponsor”).
      227
             472 U.S. at 43, 56-58.
      228
             Id. at 57.
      229
             Id.

                                           80
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foreclose all judicial inquiry into legislative history (including what the Supreme

Court did in Edwards, Wallace, and countless other cases), but also would write the

purpose prong out of the Lemon test — a result that the Supreme Court expressly

forbade in McCreary.230

      B.     The Challenged Policy, Its Legislative History, and Its Historical
             Context All Conclusively Show That The District’s Purpose Was
             Religious.

      The disclaimer language, the legislative history, and the historical context in

which the policy arose, all lead ineluctably to the conclusion that defendants chose to

alter Dover’s biology curriculum in order to advance religion.

             1.     The disclaimer.

      Although plaintiffs have already parsed the disclaimer to determine what

message it sends to the students hearing it, and so will focus their purpose arguments

in the main on the legislative history and historical context for the curriculum change,

at least three central features of the disclaimer deserve mention as being especially

pertinent to ascertaining purpose: (1) the singling out of evolution for special

treatment from among all the scientific theories in the Dover science curriculum; (2)


      230
               McCreary, 125 S. Ct. at 2735 (“After declining the invitation to abandon
concern with purpose wholesale, we also have to avoid the Counties’ alternative tack
of trivializing the enquiry into it.”); see also id. at 2734 (“Examination of purpose is
a staple of statutory interpretation that makes up the daily fare of every appellate court
in the country.”).

                                           81
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the description of evolution as a “theory, * * * not a fact”; and (3) the fact that the

Board removed from the disclaimer language that science-teacher Jen Miller and

assistant-principal Mike Baksa had drafted that portrayed evolutionary theory

favorably.

      First, the disclaimer singles out evolution for special treatment — specially

disparaging treatment. As the Supreme Court explained in Edwards, “[t]here is a

historic and contemporaneous link between the teachings of certain religious

denominations and the teaching of evolution.”231 “Out of many possible science

subjects taught in the public schools, the [Board] chose to affect the teaching of the

one scientific theory that historically has been opposed by certain religious sects,”

mimicking the very behavior of the Louisiana legislature that the Supreme Court held

to violate Lemon’s secular-purpose requirement in Edwards.232 For as the Court

explained, “there can be no legitimate state interest in protecting particular religions

from scientific views distasteful to them, and * * * the First Amendment does not

permit the State to require that teaching and learning must be tailored to the principles

or prohibitions of any religious sect or dogma.”233

      231
             482 U.S. at 590.
      232
             Id. at 593.
      233
            Id. at 590-91 (quoting Epperson, 393 U.S. at 106-07) (internal quotation
marks omitted).

                                           82
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      Second, the disclaimer makes a point to characterize evolution as a theory, “not

a fact.”234 As the Selman court explained, “encouraging the teaching of evolution as

a theory rather than as a fact is one of the latest strategies to dilute evolution

instruction employed by anti-evolutionists with religious motivations.”235 Although

the Selman court considered that historical trend only in the opinion’s

effect/endorsement discussion and did not mention it in the purpose analysis, the court

issued the opinion before the Supreme Court had clarified in McCreary that “[t]he

eyes that look to purpose belong to an objective observer,”236 and therefore that “our

precedents sensibly forbid an observer ‘to turn a blind eye to the context in which the

policy arose.’”237 The upshot is that the purpose inquiry must take just as much

account of the cultural context that produced the theory-not-fact formulation as the

effect inquiry does. And hence, the fact that the Board here chose to embrace a

religious strategy for undermining evolutionary theory is probative of the Board’s

religious purpose.




      234
             P124.
      235
             Selman, 390 F. Supp. 2d at 1308.
      236
             125 S. Ct. at 2734 (internal quotation marks omitted).
      237
             Id. at 2737 (quoting Santa Fe, 530 U.S. at 315) (brackets omitted).

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       Third, the Board made sure that the disclaimer denigrated evolutionary theory

in students’ eyes. Among other things, the Board ordered language removed from

drafts of the disclaimer that would have communicated to students the strength of

evolutionary theory by informing them, for example, that evolution is the “dominant

scientific theory” and that there is a “significant amount of evidence supporting

Darwin’s theory.238 What was left was negative language telling students that

evolutionary theory has “gaps for which there is no evidence” and that it is a theory

and not a fact.239

              2.     The legislative history.

       What the disclaimer itself conveys, the legislative history confirms: Plaintiffs

adduced overwhelming evidence at trial that defendants openly, affirmatively,

consistently, and aggressively sought to implement a religious agenda.

       The two Board members most directly responsible for bringing about the

change to the biology curriculum — Board president Bonsell and Curriculum

Committee-chair Buckingham — both made it entirely clear that they have strong

religious convictions in opposition to important aspects of the scientific theory of




       238
              FF245-47.
       239
              FF248.

                                          84
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evolution, namely, macroevolution, speciation, and especially common ancestry.240

Both overtly expressed their desire to teach creationism at Dover High School.241 And

both then lied about it under oath.242

      Bonsell raised creationism by name when he ran for the Board in 2001, at the

Board retreat in 2002, and again at the Board retreat in 2003.243 He claims not to

recall raising the subject of creationism or even having an interest in it (although his

counsel admitted in opening argument that Bonsell did in fact have such an interest);

and he insisted at his deposition that he had never raised the subject of creationism at

any time.244 Documents that were discovered and produced later (though not by

Bonsell) proved, however, that he had raised the subject of creationism in 2002 and

2003, and even that he had advocated teaching it on a 50/50 basis with evolution.245

Plaintiffs also proved that Bonsell advocated the teaching of creationism at the public

board meetings in June 2004.246

      240
             FF133-34.
      241
             FF135-50, 170-77.
      242
             FF271-73, 276-81.
      243
             FF143a-b, 144a.
      244
             FF272b-c.
      245
             FF135-43.
      246
             FF175d, 175g, 176e.

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      Buckingham also openly expressed a desire to teach creationism.247

Buckingham, Bonsell, Harkins, and Geesey insisted that none of them had ever

discussed creationism at the June 2004 Board meetings.248 But plaintiffs produced a

mountain of evidence that Buckingham and other Board members did in fact advocate

teaching creationism at those meetings.249 Half the mouths in the courtroom dropped

open when plaintiffs’ counsel showed the videotape of Buckingham outside the school

district building in June of 2004 and heard him say “it’s okay to teach Darwin, but you

have to balance it with something else, such as creationism.”250 Nearly all the

remaining mouths dropped open when Buckingham blurted out that he had known

about the newspaper reports on the creationism discussions because the Board

members had talked about them at that time — this after Buckingham had, just

minutes before, denied knowing the substance of those news reports.251

      The words that Buckingham used on the videotape are almost the exact same

ones that the reporters for the York Daily Record and the York Dispatch reported him



      247
             FF175-76.
      248
             FF276.
      249
             FF170-77.
      250
             FF273b.
      251
             FF273e.

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saying during the June board meetings. Buckingham’s use of the word “creationism”

was confirmed — despite all defendants’ denials and all their efforts to malign two

honest local newspaper reporters — when assistant-superintendent Baksa, whom

defendants called as their witness, set the record straight.252

      Of course, Buckingham’s statements at the June Board meetings went far

beyond references to creationism: They included memorable expressions of religious

hostility toward evolution, such as:

      !      “It is inexcusable to have a book that says man descended from apes with
             nothing to counterbalance it.”253

      !      “This country wasn’t founded on Muslim beliefs or evolution. This
             country was founded on Christianity and our students should be taught
             as such.”254

      !      “2,000 years ago someone died on a cross. Can’t someone take a stand
             for him?”255

      Those statements and many others by Buckingham and other Board members

were reported in the two daily York papers in June of 2004, and no one — not any

Board member or administrator — denied any of them, even though those individuals


      252
             FF174.
      253
             FF175j.
      254
             FF175k.
      255
             FF176k.

                                           87
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obviously knew of the reports, as Buckingham admitted.256 If the reports were false,

as defendants later claimed, anyone on the Board or in the administration could easily

have disproved them simply by having the audiotapes of the June board meetings

transcribed.257 They chose not to do so, and the tapes were destroyed.

      Thus, only one reasonable conclusion can be drawn from the evidence

presented at trial — the reports in the newspaper about the events at Board meetings

in June 2004 were accurate in all respects. And the defendants’ witnesses lied.

      More generally, Bonsell and Buckingham did not keep their religious hostility

toward evolution to themselves, but instead manifested it in important ways. First,

they sought to limit the teaching of evolution. Bonsell met with the science teachers

in the fall of 2003 to ensure that they did not teach his daughter (a ninth-grade student

taking biology that year) what he referred to as “origins of life,” i.e., speciation,

macroevolution, and common ancestry. Buckingham met with the teachers in June

of 2004, also to ensure that the teachers did not present any scientific concepts that

offended his religious views.258 Bonsell and the other board members who voted for

the October 18 resolution made sure that the assurances they received were codified


      256
             FF175-76.
      257
             FF276c.
      258
             FF154-57.

                                           88
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as school district policy. By enacting the phrase “origins of life is not taught” into the

curriculum guide, the Board ensured that the teachers would not teach students core

evolutionary concepts that conflict with the religious beliefs of Bonsell, Buckingham,

and other Board members.259

      Of course, the primary manifestation of Bonsell’s and Buckingham’s religious

hostility toward evolution was the Board mandate that students “be made aware of

gaps/problems in Darwin’s Theory and of other theories of evolution, including but

not limited to Intelligent Design.”260       Defendants’ counsel and a number of

defendants’ witnesses have claimed that the Board enacted this policy to promote

good science education. If this were true, there should be some evidence in the record

that board members discussed such an objective or took some reasonable measure to

ensure that their actions would further such a purpose.

      In fact there is no such evidence in the record. None of the board members ever

discussed gaps or problems in the theory of evolution, the concept of intelligent

design, or how making students aware of either would promote good science

education.261 At least four of the board members who supported the resolution


      259
             FF233.
      260
             FF224.
      261
             FF234.

                                           89
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(Buckingham, Harkins, Cleaver, and Geesey) admitted that they did not understand

the concept of intelligent design when they voted in favor of the Board’s resolution.262

They did know that the science teachers adamantly opposed it on the grounds that it

is creationism and not science, but they disregarded the views of the science teachers,

their only resource for information about science education.263 The Board consulted

no science or education organizations about the curriculum change.264

      The only outside advice that the Board received was legal advice from the

Discovery Institute (an anti-evolution think tank) and the Thomas More Law Center

(a faith-based law firm).265 The Board’s choice of ‘science advisers’ says everything

about the true reason for the October 18 resolution — the Board members who

supported the resolution wanted to promote a religious alternative to evolution —

without getting caught.

      The Board also deviated from established practice in passing the resolution.

Standard practice called for (a) the resolution to be discussed at a planning meeting

before being considered at an action meeting, (b) the teachers’ input, and (c) review


      262
             FF235, 240, 289c.
      263
             FF229, 232, 237.
      264
             FF238-39.
      265
             FF238.

                                          90
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by the District Curriculum Committee.266 The October 18 board resolution was

irregular in every way.

      The plaintiffs filed this lawsuit in December 2004, based in large measure on

the undisputed reports about events and circumstances at board meetings earlier that

year. The next day, plaintiffs’ counsel wrote to defendants’ counsel, noted the

strength of the plaintiffs’ case, and offered to withdraw the lawsuit and any claims to

attorneys’ fees if the Board would rescind the policy.267 But the Board refused.

Shortly thereafter, the Court permitted plaintiffs to take expedited discovery in order

to decide whether to seek a temporary restraining order. Plaintiffs took four

depositions on January 3, 2005 — Bonsell, Buckingham, Harkins, and Nilsen — and,

much to plaintiffs’ surprise, learned that all four witnesses denied the news reports

from the York papers in June 2004.

      As it turned out, that was the beginning of a very slippery slope for the

defendants’ witnesses. The witnesses at those January 2005 depositions told other lies

as well. Most notably, Bonsell and Buckingham failed to tell the truth about the

source of the donation of the creationist textbook Of Pandas and People.268 Faced


      266
             FF226.
      267
             P758.
      268
             FF210-18, 227.

                                          91
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with a conflicting factual record, plaintiffs chose not to seek a temporary restraining

order, and the defendants crowed.269 And emboldened by their success at fending off

a push for immediate injunctive relief, the Board published a newsletter to the entire

Dover community that amounted to an aggressive advocacy piece for the Board’s

religious attack on science.270 The newsletter attacked supporters of the scientific

theory of evolution and opponents of the Board’s policy: It accused them of spreading

“misinformation.”271 The newsletter made the grandiose claim that intelligent design

qualifies as a scientific theory on a par with evolution and other scientific theories.272

It denigrated evolution and made claims that have never been advanced, much less

proven in the scientific community.273 And it strongly suggested that evolution has

atheistic implications and that intelligent design is the cure for atheism.274 The Board

in its October 18 resolution promoted religion directly to students at Dover High




      269
             FF281.
      270
             FF253-55.
      271
             FF254c.
      272
             FF254e.
      273
             FF254f.
      274
             FF254g, 254i.

                                           92
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school. By its February 2005 newsletter, the Board sought to spread its religious, anti-

scientific message to a much broader audience.

      At bottom, the purpose inquiry turns on a question of credibility: Should the

Court believe the testimony of the Board members who supported the October 18

resolution and the February 2005 newsletter that they had no religious purpose and

sought only to advance science education? Review of all the evidence shows that the

Court cannot believe that the defendants acted with no religious purpose. The record

contains far too much evidence that religion motivated Bonsell, Buckingham, and

others;275 that Board members openly expressed a desire to teach creationism and then

lied about it;276 that Board members were willing to sacrifice the best interests of

students at Dover High School and deny them a new standard biology textbook in

favor of a creationist text not used at any public school in the country;277 that Board

members instructed administration to find a textbook that taught an alternative to

evolution;278 that TMLC recommended just such a book in Pandas;279 that Board



      275
             FF135-50.
      276
             FF175-76, 272c, 273-81.
      277
             FF197-202.
      278
             FF182-83.
      279
             FF193.

                                          93
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members arranged for a secret donation of the Pandas book with funds collected at

Buckingham’s church and then failed to tell the truth about it to the public or to

plaintiffs’ counsel;280 and that the Board took no actions that would suggest that it

wanted to promote good science education, but instead did everything that would be

expected of a school board that wanted to denigrate evolution and promote a religious

alternative.281

       C.     To The Extent That Defendants Advance A Secular Purpose, It Is A
              Sham.

       To the extent that defendants claim to have changed the biology curriculum in

order to improve or “balance” science education, their asserted purpose is a sham:

Because intelligent design is not science, it can do nothing whatsoever to improve or

balance science education. All it can do is mislead the students and interfere with

their science education — just as three of plaintiffs’ experts (Drs. Alters, Miller, and

Padian) and one of defendants’ own experts (Prof. Fuller) testified that it would. And

hence, when weighed against the legion evidence of the Board’s actual purpose, the

absence of evidence that the Board actually acted with an eye toward furthering any




       280
              FF210-18, 271.
       281
              FF287-89.

                                          94
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secular purpose, and the fact that the policy would not serve the asserted secular

purposes, the asserted purposes should be rejected as shams.

       Having been born out of creation science in the wake of McLean and Edwards,

intelligent design simply does not manage to avoid the defects of its forebear. To take

only a couple of key features: First, intelligent design is premised on the same

“contrived dualism” as creation science. Its proponents assume only two possible

alternatives — evolution and their view — and claim anything that purportedly does

not support evolutionary theory is affirmative evidence for intelligent design.282

Second, intelligent design, like creation science, does not partake of the scientific

method. In that regard, the McLean court identified the characteristics of science,

noting in particular that “it is guided by natural law,” “it is explanatory by reference

to natural law,” and it is “testable against the empirical world.”283 The Court

recognized that creation science “is not science because it depends upon a

supernatural intervention which is not guided by natural law.”284 Precisely the same

thing is true of intelligent design.285



       282
              Compare FF58 with McLean, 529 F. Supp. at 1266.
       283
              Id. at 1267.
       284
              Id.
       285
              FF4.

                                          95
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       Other considerations also strongly support the conclusion that intelligent design

is not science. For example, the federal courts have well-developed criteria for

evaluating whether something is science, junk science, or vacuous pseudo-scientific

jargon for purposes of determining the admissibility of expert testimony. Specifically,

the Supreme Court identified four factors for determining whether proffered evidence

is scientific:286

       (1)     whether the theory or technique can be and has been tested;287

       (2)     whether the theory or technique been subjected to peer review and

               publication;288

       (3)     whether there is a known or potential rate of error;289 and,

       (4)     whether the theory or technique is “generally accepted” in the relevant

               scientific community.290

In doing so, the Supreme Court rejected the argument that “a screening role for the

judge that allows for the exclusion of ‘invalid’ evidence will sanction a stifling and



       286
               See Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993).
       287
               Id. at 593.
       288
               Id.
       289
               Id. at 594.
       290
               Id.

                                           96
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repressive scientific orthodoxy and will be inimical to the search for truth.”291 Thus,

a determination that intelligent design is non-scientific is not only important for

deciding this case but also well within the fact-finding function that the federal courts

regularly undertake in any case that raises scientific issues.292

       The evidence demonstrates that intelligent design is not science as the Supreme

Court and the McLean court (and scientists) define that endeavor.

       The evidence submitted by both parties demonstrates that intelligent design’s

core assertion is that, for intelligent design to be ‘science,’ the long-standing scientific

ground rule of methodological naturalism must be discarded so that “supernatural

intervention” can be considered as a scientific cause.293 Not only is this radical

proposition inconsistent with McLean (as well as the definitions of science offered by

all the major science organizations), but there was no evidence submitted at trial that

any other area of scientific inquiry has ever been opened up to supernatural causes.



       291
              Id. at 596. This Court should similarly reject any suggestion by
defendants or their amici that this Court cannot evaluate whether intelligent design is
science in order to determine whether there could be a secular purpose in presenting
it to students in a public-school science class.
       292
             And nothing about such a finding would stop the intelligent-design
movement from conducting research, publishing results, or gaining acceptance in the
scientific community — should it choose to try to do so.
       293
              FF46.

                                            97
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      That is entirely understandable: Supernatural causes are not testable, so

intelligent design has not been, and cannot be, tested. But Daubert, McLean, and the

scientific community agree that testability is a core element of the scientific method.294

Indeed, defendants’ expert scientific philosopher Steven Fuller insisted that testability

is the hallmark criterion of science; and he conceded that intelligent design has not

been tested.295

      To be sure, defendants’ experts Behe and Minnich argued that intelligent design

is testable. But what they really mean by that claim is that ‘irreducible complexity’

is testable.296 But irreducible complexity is a negative argument against evolution and

not an affirmative one supporting intelligent design, for the reasons that the McLean

court’s analysis of “contrived dualism” makes clear. In fact, Behe conceded that


      294
             FF38-39.
      295
             27:90; 28:67-68.
      296
               FF22:101 (Behe). Plaintiffs and their experts presented convincing peer-
reviewed scientific evidence that has tested and falsified Behe’s claims that the
bacterial flagellum, the blood-clotting cascade, and the immune system could not have
evolved through natural selection. FF74-76. Behe argued that the tests described by
plaintiffs’ experts were inadequate, and he proposed a competing test — growing a
bacterial flagellum in the laboratory. FF79. Setting aside the patent frivolousness of
that proposal, defendants’ experts admitted that no one has ever even attempted to
perform such a test — even though the scientific method dictates that those who
advance a hypothesis like irreducible complexity should themselves test and attempt
to falsify it. So while irreducible complexity might be testable, it is untested, and
hence does not live up to the demands of science.

                                           98
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intelligent design can never be ruled out, which just means that it is not testable or

falsifiable.

       Defendants admit, moreover, there are no articles in peer-reviewed scientific

journals arguing for the intelligent design or irreducible complexity of any biological

system.297 And while defendants asserted that there are a handful of articles in peer-

reviewed journals that relate in general terms to the issue of intelligent design,298 none

of those articles even mentions the terms ‘intelligent design’ or ‘irreducible

complexity.’ And as for the only one introduced into evidence — Dr. Behe’s article

with Doug Snoke299 — inspection of the article and cross examination revealed that

the paper does not mount much of an argument against evolution, much less make a

positive case for intelligent design.300

       Minnich and Behe admitted that there has been no attempt to quantify the so-

called design inference in a way that would allow for computation of a rate of error.301




       297
               FF118.
       298
               39:24 (Minnich).
       299
               P721.
       300
               FF118.
       301
               FF91.

                                           99
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      Finally, intelligent design flatly fails the “general acceptance” test. In Daubert,

the Supreme Court explained that “‘a known technique which has been able to attract

only minimal support within the [scientific] community’ may properly be viewed with

skepticism.”302 Not only has intelligent design failed to garner general acceptance,

but it has not even achieved “minimal support”: It has been roundly rejected by the

entire scientific community.303 Indeed, defendants’ expert Steven Fuller characterized

it as “fringe science” requiring “affirmative action.”304

      In the end, the hours and hours of complicated scientific testimony that the

Court heard boils down to a simple conclusion: Intelligent design falls too short of

the mark even to merit the label “junk science.” Whatever its merits or demerits might

be as a theological claim, therefore, the claim that it could serve a useful pedagogic

purpose as science instruction is indefensible.

      D.     Defendants Cannot Distance Themselves From Their Own Actions.

      Confronted with the mountain of purpose evidence presented at trial, defendants

attempt to distance themselves from their own words and deeds in two ways. First,

the Board members simply deny ever having made religious statements. And second,


      302
             509 U.S. at 594.
      303
             FF49-52.
      304
             FF54.

                                          100
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where the Board members could not deny their statements in the face of documentary

evidence from their own administrators and an independent news crew’s video

recording, they contended either that they “misspoke” when they made the religious

statements or that those statements were completely divorced from their later

advocacy in favor of presenting intelligent design and so-called “[g]aps” and

“problems” with evolutionary theory.

      Both stratagems fail.

             1.     The Board members’ untruthful testimony constitutes strong
                    evidence of improper purpose.

      Although Board members testified in their depositions and at trial that they

never sought to put creationism into the curriculum, that they never advocated in favor

of creationism, that they never made religious statements in favor of the curriculum

change, and that they did not know the source for the donated copies of the creationist

text Pandas, that testimony is not credible. It is belied by superintendent Nilsen’s and

assistant-superintendent Baksa’s trial testimony. It is belied by superintendent

Nilsen’s and plaintiff Barrie Callahan’s notes from Board retreats. It is belied by the

Trudy Peterman memorandum. It is belied by the curriculum charts tracing the

policy’s development over time. It is belied by the testimony from Dover science

teachers Jen Miller and Bertha Spahr. It is belied by the testimony from plaintiffs



                                          101
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Christy Rehm, Brian Rehm, Barrie Callahan, and Fred Callahan, all of whom attended

board meetings in June 2004. It is belied by Joseph Maldonado’s and Heidi Berhard-

Bubb’s testimony and newspaper reportage relating to the board meetings and post-

meeting press interviews with Board members. It is belied by the Fox news videotape

of William Buckingham on the way out of a Board meeting. And it is belied by the

check that Buckingham, Alan Bonsell, and Donald Bonsell used in their shell game

to hide the funds used to purchase Pandas.

      One of the oldest, clearest, and most important rules in Anglo-American law is

that, when parties testify under oath, they are duty-bound to tell the truth; and if they

break trust with the court, their dishonesty casts a pall on their entire case:

      It has always been understood * * * that a party’s falsehood or other
      fraud in the preparation and presentation of his cause * * * is receivable
      against him as an indication of his consciousness that his case is a weak
      or unfounded one; and from that consciousness may be inferred the fact
      itself of the cause’s lack of truth and merit. The inference thus does not
      necessarily apply to any specific fact in the cause, but operates,
      indefinitely though strongly, against the whole mass of alleged facts
      constituting his cause.305


      305
                2 JOHN H. WIGMORE, EVIDENCE IN TRIALS AT COMMON LAW § 278(2),
at 133 (Chadbourn rev. 1979). See also McQueeney v. Wilimington Trust Co., 779
F.2d 916, 921 (3d Cir. 1985) (“[W]rongdoing by the party in connection with his case
. . . is also commonly regarded as an admission by conduct. By resorting to wrongful
devices he is said to give ground for believing that he thinks his case is weak and not
to be won by fair means. Accordingly, a party's false statement[s] about the matter in
litigation, whether before suit or on the stand, . . . are instances of this type of
admission by conduct.”) (quoting CHARLES MCCORMICK, HANDBOOK OF THE LAW OF

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The underlying principle is “falsus in uno, falsus in omnibus” — “false in one thing,

false in everything” — which means that a court may disregard a party’s evidence, for

a specific issue or even for the entire case, if the party’s offer of blatantly deceptive

testimony puts the party’s credibility in doubt.306 And in accordance with that

principle, it follows that the factfinder is entitled to infer from a defendant’s or its

agent’s disingenuousness that any proffered innocent explanations for its actions are

mere pretext.307

EVIDENCE § 273, at 660 (2d ed. 1972)).
      306
              See Bennun v. Rutgers State Univ., 941 F.2d 154, 179 (3d Cir. 1991)
(“The district court * * * finds facts and assesses credibility. Like any factfinder, it
can accept some parts of a party’s evidence and reject others. It may also, like any
factfinder, assess credibility in light of the maxim, falsus in uno, falsus in omnibus.”);
see also, e.g., Kanawha & Mich. Ry. v. Kerse, 239 U.S. 576, 581 (1916) (witness’
testimony plainly contradicted by other evidence could be “rejected in toto — falsus
in uno, falsus in omnibus”). Indeed, a standard federal civil jury instruction directs
that “[i]f a witness is shown knowingly to have testified falsely about any material
matter, you have a right to distrust such witness’ other testimony and you may reject
all the testimony of that witness or give it such credibility as you may think it
deserves.” 3 FED. JURY PRAC. & INSTR. § 105.04 (5th ed. 2005).
      307
              See, e.g., Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 147
(2000) (in case alleging intentional discrimination, “it is permissible for the trier of
fact to infer the ultimate fact of discrimination from the falsity of the employer’s
explanation”) (emphasis omitted); id. (allowing inference of intent based on false
statements “is consistent with the general principle of evidence law that the factfinder
is entitled to consider a party’s dishonesty about a material fact as affirmative
evidence of guilt” (internal quotation marks omitted)); Sheridan v. E.I. DuPont de
Nemours & Co., 100 F.3d 1061, 1071-72 (3d Cir. 1996) (factfinder decides whether
to infer discrimination by assessing witnesses’ credibility and other evidence that
undermines employer’s “proffered reasons for its actions”); Gov’t of Virgin Islands

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      Inferences of pretext are, moreover, especially appropriate under Lemon’s

purpose prong. For the Supreme Court has repeatedly held that, to survive judicial

scrutiny, any asserted secular purpose “has to be genuine, not a sham, and not merely

secondary to a religious objective.”308 Defendants’ flagrant falsehoods to this Court

provide strong reason to deduce that any supposedly secular purposes they may offer

are equally insincere.309




v. Lovell, 378 F.2d 799, 806-07 (3d Cir. 1967) (approving jury instruction that
defendant’s false exculpatory statements may be used to infer consciousness of guilt).
      308
              McCreary, 125 S. Ct. at 2735; accord, e.g., Santa Fe, 530 U.S. at 308 (“it
is * * * the duty of the courts to ‘distinguish a sham secular purpose from a sincere
one’” (citation omitted)); Edwards, 482 U.S. at 586-87 (“While the Court is normally
deferential to a State’s articulation of a secular purpose, it is required that the
statement of such purpose be sincere and not a sham.”).
      309
              What is more, although defendants in their summary-judgment brief
offered up an impressive litany of hypothetical excuses for why one might adopt a
disclaimer like the one here (see Defs.’ Br. Supp. Mot. Summ. J. at 18), defendants
offered no evidence at trial to show that the Board was in fact motivated by any of
those asserted justifications: Not one of them testified that defendants were genuinely
pursuing permissible secular objectives. (Nor, for that matter, did any expert witness
qualified to speak about high-school-science education testify that the policy might
actually serve any of those alleged objectives.) The Board members’ silence in this
regard speaks volumes, especially when compared with their unhesitating willingness
to offer transparently false denials of their words and deeds evidencing the Board’s
religious purpose. And as for the unsupported assertions of secular purpose in their
briefs, post hoc rationalizations developed in the course of litigation are not entitled
to any more deference in Establishment Clause cases than they are in any other type
of action. See, e.g., McCreary, 125 S. Ct. at 2740; see also, e.g., Freiler, 185 F.3d at
342.

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             2.     Both settled Supreme Court authority and common sense
                    dictate that this Court should refuse to credit defendants’
                    claim to have put aside their creationist agenda.

      Quite apart from the fact that the Board members lack credibility on any topic,

defendants misrepresent controlling law when they argue that this Court should ignore

their unconstitutional efforts to put ‘creationism’ into the curriculum and should look

only at what they were doing when they happened to employ the label ‘intelligent

design.’ For viewed as it must be from the standpoint of the objective observer

familiar with the entire history and implementation of the curriculum change,310 the

Board’s publicly expressed desire to teach creationism undeniably carries over into

its implementation of the curriculum change as finally drafted.

      In McCreary, the Supreme Court considered and conclusively rejected the

judicial blinders that defendants in the instant case seek to press on this Court.

McCreary was a challenge to displays of the Ten Commandments and other

documents posted in two county courthouses. The defendant counties had originally

posted the Ten Commandments alone. Then, upon being sued, the counties added

other religious texts to the displays. After the district court struck down those

enhanced displays, the counties retained more clever lawyers, and proceeded to try to

whitewash their earlier efforts by putting up new displays, entitled “The Foundations


      310
             See McCreary, 125 S. Ct. at 2734.

                                         105
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of American Law and Government Display,” that placed the Ten Commandments

alongside secular documents and purported to describe an overarching secular

theme.311 Although the counties argued that the clearly unconstitutional purposes for

the earlier displays should not be charged against them with respect to the final

displays because the counties’ ultimate aim was, supposedly, to make the displays

comport with Establishment Clause requirements, the Supreme Court took a different

view of things:

      The Counties’ * * * proffered limitation [on purpose evidence] can be
      dispatched quickly. They argue that purpose in a case like this one
      should be inferred, if at all, only from the latest news about the last in a
      series of governmental actions, however close they may all be in time
      and subject. But the world is not made brand new every morning, and
      the Counties are simply asking us to ignore perfectly probative evidence;
      they want an absentminded observer, not one presumed to be familiar
      with the history of the government’s actions and competent to learn what
      history has to show. The Counties’ position just bucks common sense:
      reasonable observers have reasonable memories, and our precedents
      sensibly forbid an observer “to turn a blind eye to the context in which
      [the] policy arose.”312

      Defendants’ argument in the instant case is a page out of the counties’ playbook

in McCreary. So it deserves just the same judicial response. As in McCreary, where


      311
             See 125 S. Ct. at 2727-31.
      312
              Id. at 2736-37 (quoting Santa Fe, 530 U.S. at 315; citing id. at 308;
Wallace, 472 U.S. at 73; Pinette, 515 U.S. at 780 (O’Connor, J., concurring in part
and concurring in judgment); Edwards, 482 U.S. at 595)) (second alteration in
original; footnote omitted).

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“[n]o reasonable observer could swallow the claim that the Counties had cast off the

objective so unmistakable in the earlier displays,”313 so too here: No reasonable

observer could swallow the claim that the Board, after repeatedly expressing its desire

to add creationism to the curriculum, suddenly abandoned that aim entirely,

coincidentally decided at that very moment to beef up the District’s curriculum on the

scientific theory of evolution for secular reasons, and just happened to settle on doing

so by incorporating what unbeknownst to the Board turned out to be an inherently

religious view, on the one hand, and a religiously motivated rhetorical strategy to

disparage a secular scientific theory, on the other. Even if the Board members hadn’t

imprudently (but with accidental honesty) slipped back into calling intelligent design

by its proper name ‘creationism,’314 there can be no question, on the wealth of

evidence adduced at trial, that defendants’ actions were all of a piece: They were self-

consciously aimed at promoting the Board’s particular brand of religion.

III.    THE CHALLENGED POLICY’S PRIMARY EFFECT IS TO ADVANCE
        RELIGION.

               The core notion animating the requirement that * * * [an official
        act’s] “principal or primary effect . . . be one that neither advances nor
        inhibits religion,” is not only that government may not be overtly hostile


        313
              Id. at 2740.
        314
            See, e.g., P145 (Fox news video of Buckingham); 8:60-61 (J. Brown);
8:128 (F. Callahan).

                                           107
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      to religion but also that it may not place its prestige, coercive authority,
      or resources behind a single religious faith or behind religious belief in
      general, compelling nonadherents to support the practices or
      proselytizing of favored religious organizations and conveying the
      message that those who do not contribute gladly are less than full
      members of the community.315

Because the effect test thus largely covers the same ground as the endorsement test,316

plaintiffs will not rehash the endorsement analysis presented above,317 but instead

simply incorporate it by reference here as the Third Circuit does.318 What follows is

plain: First, “[s]ince [intelligent design] is not science, the conclusion is inescapable

that the only real effect of [defendants’ policy] is the advancement of religion.”319

Second, the disclaimer read to students “has the effect of implicitly bolstering

alternative religious theories of origin by suggesting that evolution is a problematic

theory even in the field of science.”320 Third, “[an administrator’s] reading of a

disclaimer that not only disavows endorsement of educational materials but also


      315
             Texas Monthly, 489 U.S. at 9 (plurality op.).
      316
             See Lynch, 465 U.S. at 690 (O’Connor, J., concurring) (“The effect prong
asks whether, irrespective of government’s actual purpose, the practice under review
in fact conveys a message of endorsement or disapproval.”).
      317
             See supra Sections I.D-F.
      318
             See, e.g., Modrovich, 385 F.3d at 412-13; Freethought, 334 F.3d at 269.
      319
             McLean, 529 F. Supp. at 1272.
      320
             Selman, 390 F. Supp. 2d at 1308-09.

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juxtaposes that disavowal with an urging to contemplate alternative religious concepts

implies School Board approval of religious principles.”321 And fourth, defendants

drew Dover’s citizenry into a vicious battle over religion, rending the community’s

social fabric in a way that the Establishment Clause was designed to prevent.

                                  CONCLUSION

      The Supreme Court has long recognized that the public schools are “[d]esigned

to serve as perhaps the most powerful agency for promoting cohesion among a

heterogeneous democratic people,”322 and therefore that courts must be particularly

scrupulous in the public-school context to enforce the mandates of the Establishment

Clause.323 “What to most believers may seem nothing more than a reasonable request

that the nonbeliever respect their religious practices, in a school context may appear

to the nonbeliever or dissenter to be an attempt to employ the machinery of the State

to enforce a religious orthodoxy.”324 In simplest terms, the “preservation and

transmission of religious beliefs and worship is a responsibility and a choice


      321
             Freiler, 185 F.3d at 348.
      322
             McCollum v. Bd. of Educ., 333 U.S. 203, 216-17 (1948).
      323
            Lee, 505 U.S. at 592 (“there are heightened concerns with protecting
freedom of conscience from subtle coercive pressure in the elementary and secondary
public schools”).
      324
             Id.

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committed to the private sphere.”325 And when government takes sides on a religious

issue — such as whether to teach students that the world is the product of creation by

a supernatural being or to disparage a scientific theory that public officials fear may

conflict with that religious belief — “the debates that presumably must precede” the

official action “impermissibly invade that private sphere.”326

      Defendants here have implemented a policy that was designed to, and does in

fact, endorse and advance a particular religious view. This Court should strike down

the policy. In doing so, the Court should directly address the issues that the parties

have placed before it regarding the nature of intelligent design and the teaching of so-

called gaps in evolutionary theory. For without a strong message to the groups selling

intelligent-design creationism nationwide, and the officials waiting in line to buy it,

other communities will suffer the same fate as Dover. And other courts will have to

endure a reprise of this litigation to decide questions left unresolved here. But more

than that, the citizens of Dover need a clear statement about what the Constitution

does and does not allow. Otherwise, there will remain the substantial danger that

some future Board will pick up where Bonsell, Buckingham, Geesey, and the rest left

off. And as long as that danger looms large, the Dover community will never be able


      325
             Id. at 589.
      326
             Santa Fe, 530 U.S. at 311.

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to put this lawsuit behind it and begin healing the wounds that defendants and their

official religious agenda have caused.



                                          Respectfully submitted,



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                         CERTIFICATE OF SERVICE

      I hereby certify that, on November 23, 2005, I caused the foregoing Brief in

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